      Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 1 of 67 PageID #:48




                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 LUCIUS VEIGA, MICHAEL                                )
 STERCHELE, and ALEX PARKER                           )
 ZIMMERMAN, on behalf of themselves                   )
 and all others similarly situated,                   )
                                                      )
                   Plaintiff,                         )
                                                           Case No. 1:21-cv-02620
                                                      )
           v.                                         )
                                                      )
 RESPONDUS, INC.,                                     )
                                                      )
                   Defendant.                         )

                DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                MOTION TO STAY AND COMPEL INDIVIDUAL ARBITRATION
                        OF PLAINTIFF LUCIUS VEIGA’S CLAIMS

                                        I.      INTRODUCTION

         Plaintiff Lucius Veiga (“Plaintiff” or “Plaintiff Veiga”) agreed to arbitrate his claims

against defendant Respondus, Inc. under the Illinois Biometric Information Privacy Act (“BIPA”)

arising from his use of the Respondus Monitor exam proctoring software. This Court should stay

Plaintiff Veiga’s claims pursuant to 9 U.S.C. § 3 and compel individual arbitration of these claims

pursuant to 9 U.S.C. § 4 because (1) Plaintiff Veiga accepted the Respondus Monitor – Student

Terms of Use (“Student Terms of Use”) each and every time he took an exam; (2) the Student

Terms of Use contains a mandatory arbitration clause that covers Plaintiff’s BIPA claims; and (3)

Plaintiff, has, by filing this lawsuit, refused to participate in arbitration.

                                  II.        FACTUAL BACKGROUND

         A. Respondus Monitor.

         Respondus owns and operates Respondus Monitor, a cloud-based service and software that

work together to provide an online interactive database of video, audio, and other data captured



4828-2810-3917.1
     Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 2 of 67 PageID #:49




during student testing for learning institutions or schools to monitor student participation.

(Declaration of David Smetters Regarding Lucius Veiga’s Arbitration Agreement (“Smetters

Decl.”), attached hereto as Exhibit 1, at Ex. A).

        B. Plaintiff Accepted the Respondus Monitor – Student Terms of Use.

        Plaintiff Veiga used Respondus Monitor to take exams at Northwestern University and

agreed to the Student Terms of Use on May 25, 2021 and May 26, 2021. (Id. at ¶ 13). In order to

take an exam using Respondus Monitor, Plaintiff first selected the exam from within the

university’s learning management system and indicated he was ready to begin the exam. (Id. at ¶

3). After Plaintiff selected and chose to begin each exam, Respondus Monitor presented Plaintiff

with a screen displaying the Student Terms of Use in black font against a plain white background

(Id. at ¶ 4):




        By using the scroll bar on the right side of the screen, Plaintiff could view the full text of

the Student Terms of Use. (Id.). Immediately below the full text of the Student Terms of Use is



                                                    2
     Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 3 of 67 PageID #:50




one button indicating “Agree” and one button indicating “Disagree.” (Id.) In order for Plaintiff

to proceed past the screen, Plaintiff must affirmatively select the “Agree” button. (Id. at ¶ 5). It

is not possible to use Respondus Monitor to take an exam without viewing the screen and

affirmatively selecting the “Agree” button. (Id.). If a student selects the “Disagree” button, the

student is not able to proceed past the screen and is not able to use Respondus Monitor to take

the exam.

         C. The Respondus Monitor – Student Terms of Use That Plaintiff Accepted
            Contains a Mandatory Arbitration Clause.

         When Plaintiff used Respondus Monitor to take exams, the opening paragraph of the

Student Terms of Use stated that use of Respondus Monitor was conditioned upon assent to the

Terms of Use.

         These Terms of Use (“Terms”), which incorporate the Respondus Help Center
         Terms of Use (“Help Center Terms”) included at the end of these Terms, are an
         agreement between you and Respondus, Inc. (“Respondus”), and between you and
         your learning institution, or your school (your “Institution”), regarding your use of
         Respondus Monitor®. By using Respondus Monitor, you agree to these Terms in
         full and that you are age 14 or older, or age 16 or older in the EEA, and if under the
         age of 18 and located in the United States of America, such Terms have been agreed
         to by your parent or guardian.

(Id. at Ex. D p.1).

         At the time that Plaintiff used Respondus Monitor to take exams, the Student Terms of Use

contained an arbitration agreement, which is explicitly noted in the fourth opening paragraph:

         NOTE: THESE TERMS CONTAINS AN ARBITRATION AND CLASS
         ACTION WAIVER PROVISION IN THE “ARBITRATION” SECTION BELOW
         THAT AFFECTS YOUR RIGHTS UNDER THESE TERMS AND WITH
         RESPECT TO ANY DISPUTE BETWEEN YOU AND RESPONDUS OR OUR
         AFFILIATES. BY USING RESPONDUS MONITOR, YOU ACKNOWLEDGE
         THAT YOU HAVE READ AND REVIEWED THESE TERMS IN THEIR
         ENTIRETY, YOU AGREE TO THESE TERMS, AND THESE TERMS
         CONSTITUTE BINDING AND ENFORCEABLE OBLIGATIONS ON YOU.

(Id.).


                                                   3
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 4 of 67 PageID #:51




The Arbitration section of the Student Terms of Use included the following clauses:

       4.      ARBITRATION

       Respondus operates in interstate commerce and this Arbitration Agreement is a
       contract evidencing a transaction involving commerce that is governed by the
       Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1 et seq. This Agreement contains
       the rules and procedures that you must follow to resolve any disputes between you
       and Respondus—please read it carefully.              It contains procedures for
       MANDATORY BINDING ARBITRATION AND A CLASS ACTION WAIVER.
       You agree that, by agreeing to these Terms of Use, the U.S. Federal Arbitration Act
       governs the interpretation and enforcement of this provision, and that you and
       Respondus are each waiving the right to a trial by jury or to participate in a class
       action.

       Scope of Arbitration Agreement. You acknowledge and agree that any dispute
       or claim relating in any way to your access or use of Respondus Monitor or to any
       other aspect of your relationship with Respondus will be resolved by binding
       arbitration, rather than in court, except that (1) you may assert claims in small
       claims court if your claims quality, so long as the matter remains in such court and
       advances only on a individual (non-class, non-representative) basis; and (2) you or
       Respondus may seek equitable relief in court for infringement or other misuse of
       intellectual property rights (such as trademarks, trade dress, domain names, trade
       secrets, copyrights, and patents). This Arbitration Agreement shall apply, without
       limitation, to all claims that arose before this or any prior agreement. NOW OR
       IN THE FUTURE, THERE MAY BE LAWSUITS AGAINST RESPONDUS
       ALLEGING CLASS, COLLECTIVE, AND/OR REPRESENTATIVE
       CLAIMS. SUCH CLAIMS, IF SUCCESSFUL, COULD RESULT IN SOME
       MONETARY RECOVERY TO YOU. THE EXISTENCE OF SUCH CLASS,
       COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS DOES NOT
       MEAN THAT SUCH LAWSUITS WILL ULTIMATELY SUCCEED. BUT
       IF YOU AGREE TO ARBITRATION WITH RESPONDUS, YOU ARE
       AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN OR
       SEEK TO RECOVER MONETARY OR OTHER RELIEF UNDER SUCH
       CLASS, COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS.
       INSTEAD, BY AGREEING TO ARBITRATION, YOU MAY BRING YOUR
       CLAIMS AGAINST RESPONDUS IN AN INDIVIDUAL ARBITRATION
       PROCEEDING. IF SUCCESSFUL ON SUCH CLAIMS, YOU COULD BE
       AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.

(Id. at Ex. D p.8-9) (emphasis in original).

       The arbitration agreement further provided that, if arbitration is necessary, all parties must

proceed to arbitration on an individual, not class, basis:



                                                  4
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 5 of 67 PageID #:52




       Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES
       WITHIN THE SCOPE OF THIS ARBITRATION AGREEMENT MUST BE
       ARBITRATED ON AN INDIVIDUAL BASIS AND NOT ON A CLASS,
       COLLECTIVE, REPRESENTATIVE, OR AGGREGATE BASIS. CLAIMS OF
       MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR
       LITIGATED JOINTLY OR CONSOLIDATED WITH THOSE OF ANY OTHER
       CUSTOMER OR USER. THE ARBITRATOR MAY NOT CONSOLIDATE
       PROCEEDINGS ON MORE THAN ONE PERSON’S OR ENTITY’S CLAIMS,
       AND MAY NOT OTHERWISE AUTHORIZE OR PRESIDE OVER ANY FORM
       OF A CLASS, COLLECTIVE, REPRESENTATIVE OR AGGREGATE
       PROCEEDING. Claims of two or more persons or entities may not be joined or
       consolidated in the same arbitration because the arbitrator may only hear your
       individual claims and does not have the authority to hear claims on a class,
       collective, representative, or aggregate basis, or to award relief to anyone other than
       you and/or Respondus in a single arbitration. If any provision of this paragraph is
       determined to be unenforceable with respect to any claim or any particular remedy
       for a claim, then that claim or particular remedy (and only that claim or remedy)
       must remain in court and be severed from any arbitration.

(Id. at Ex. D p.9-10)

                                 III.    PROCEDURAL HISTORY

       On March 31, 2021, Plaintiffs Lucius Veiga, Michael Sterchele, and Alex Parker

Zimmerman filed a putative class action complaint in the Circuit Court of Cook County, Illinois,

in which they allege that Respondus violated the Illinois Biometric Information Privacy Act. (Doc.

1, Notice of Removal, at Ex. 1, Complaint (“Complaint”)). Respondus removed the case to this

Court on May 14, 2021. (Doc. 1.) Plaintiffs allege that, in the course of their use of Respondus

Monitor, Respondus collected biometric information about them and failed to make certain

disclosures or obtain certain consents regarding such collection. Plaintiffs seek to represent a class

that they define as follows:

       All Illinois citizens, who used Respondus Monitor’s software for a remotely proctored
       exam from 2016 through 2020, and whose biometric information or identifiers were
       collected, captured, purchased, received through trade, or otherwise obtained by
       Respondus in Illinois in violation of the Illinois Biometric Information Privacy Act, 740
       ILCS 14/5 et seq.

(Compl. at ¶ 37). Plaintiffs seek damages, equitable relief, attorney’s fees, and costs. (Id. ¶¶ 60,
70, ).
                                                  5
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 6 of 67 PageID #:53




                                 IV.     STANDARD OF REVIEW

       The Federal Arbitration Act “establishes a liberal federal policy favoring arbitration

agreements.” Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018) (internal quotation marks

omitted). The FAA’s “text reflects the overarching principle that arbitration is a matter of contract.

… [C]ourts must [therefore] rigorously enforce arbitration agreements according to their terms.”

Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 233 (2013) (citation and internal quotation

marks omitted). A court should order arbitration, therefore, where “the following three elements

are shown: [1] a written agreement to arbitrate, [2] a dispute within the scope of the arbitration

agreement, and [3] a refusal to arbitrate.” Zurich Am. Ins. Co. v. Watts Indus., Inc., 417 F.3d 682,

687 (7th Cir. 2005). All three elements are present here.

       Although “[t]he FAA does not expressly identify the evidentiary standard a party seeking

to avoid compelled arbitration must meet,” the Seventh Circuit has “analogized the standard to

that required of a party opposing summary judgment under Rule 56(e) of the Federal Rules of Civil

Procedure.” Tinder v. Pinkerton Sec., 305 F.3d 728, 735 (7th Cir. 2002). In considering a motion

to compel arbitration and stay proceedings, the Court may consider facts not alleged in the

complaint. See, e.g., Cont’l Cas. Co. v. Am. Nat’l Ins. Co., 417 F.3d 727, 733 (7th Cir. 2005).

                                         V.      ARGUMENT

       The Court should stay Plaintiff Veiga’s claims pursuant to 9 U.S.C. § 3 and compel

individual arbitration of these claims pursuant to 9 U.S.C. § 4 because (1) Plaintiff Veiga accepted

the Student Terms of Use, which contained a mandatory arbitration clause; (2) the arbitration

clause covers Plaintiff’s BIPA claim; and (3) Plaintiff has refused to arbitrate.




                                                  6
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 7 of 67 PageID #:54




       A. The Arbitration Agreement Contained in the Student Terms of Use Is an
          Enforceable Contract to Arbitrate.

       “To determine whether a contract’s arbitration clause applies to a given dispute, federal

courts apply state-law principles of contract formation.” Gore v. Alltel Communications, LLC,

666 F.3d 1027, 1032 (7th Cir. 2012). Respondus’ Student Terms of Use include a choice-of-law

provision that designates Washington state law as controlling. (Smetters Decl. at Ex. D p.8).

Under Washington law, “in order to form a valid contract, the contracting parties must objectively

manifest their mutual assent.” Hauenstein v. Softwrap Ltd., No. C07-0572mJP, 2007 WL 2404624,

at *2 (W.D. Wash. Aug. 17, 2007) (citing Keystone Land & Dev. Co. v. Xerox Corp., 152 Wn.2d

171, 177-78 (2004). “[T]he occurrence of mutual assent ordinarily turns on whether the consumer

had reasonable notice of the merchant’s terms of service agreement.” Weimin Chen v. Sierra

Trading Post, Inc., No. 2:18-CV-1581-RAJ, 2019 WL 3564659, at *2 (W.D. Wash. Aug. 6, 2019).

Notice often occurs “through ‘clickwrap’ (or ‘click-through’) agreements, which require website

users to click on an “I agree” box after being presented with a list of terms and conditions of use.”

Id. Courts have routinely enforced “clickwrap” agreements due to the “forced confrontation with

the terms and the forced decision to accept or reject them by clicking a button.” Wilson v. Playtika,

Ltd., 349 F. Supp. 3d 1028, 1037 (W.D. Wash. 2018).

       Here, Plaintiff had reasonable notice of the Student Terms of Use presented as a clickwrap

agreement. Each and every time Plaintiff took an exam, he was first presented with the Student

Terms of Use on the screen in black font against a plain white background. Immediately below

that screen is one button indicating “Agree” and one button indicating “Disagree.” Plaintiff could

not continue without manifesting assent to the clearly displayed and identified Student Terms of

Use by affirmatively clicking on the “Agree” button. Because Plaintiff received reasonable notice




                                                 7
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 8 of 67 PageID #:55




of and manifested his consent to the Student Terms of Use containing the arbitration agreement,

there is an enforceable contract to arbitrate.

       B. Plaintiff’s BIPA Claim Is Within the Scope of the Agreement to Arbitrate.

       “Once it is clear … that the parties have a contract that provides for arbitration of some

issues between them, any doubt concerning the scope of the arbitration clause is resolved in favor

of arbitration as a matter of federal law.” Gore, 666 F.3d at 1032. “Whether a particular claim is

arbitrable depends not upon the characterization of the claim, but upon the relationship of the claim

to the subject matter of the arbitration clause.” Id. at 1036 (internal quotation marks omitted)).

       Plaintiff’s claim falls squarely within the scope of the arbitration agreement.            The

arbitration agreement provided: “You acknowledge and agree that any dispute or claim relating in

any way to your access or use of Respondus Monitor or to any other aspect of your relationship

with Respondus will be resolved by binding arbitration. . .” (Smetters Decl. at Ex. D p.8). The

scope of the agreement is clearly defined and specifically includes the “access or use” of

Respondus Monitor. (Id.). Plaintiff’s complaint asserts that Respondus failed to make certain

disclosures or obtain certain consents in connection with its alleged “collection” or “capture” of

biometric information while Plaintiff used the Respondus Monitor tool to take exams. This claim

plainly is based upon and arises out of Plaintiff’s use and access of Respondus Monitor.

Consequently, Plaintiff’s claim falls well within the ambit of the arbitration clause.

       C. Plaintiff’s BIPA Claim Must Be Arbitrated on an Individual Basis.

       Because the parties’ arbitration agreement expressly forecloses arbitration on a calls or

other representative basis, Plaintiff Veiga may assert his claims in arbitration only as an individual.

See Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018) (“[T]he Federal Arbitration Act …

instruct[s] federal courts to enforce arbitration agreements according to their terms—including

terms providing for individualized proceedings.”); Herrington v. Waterstone Mortg. Corp., 907

                                                  8
     Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 9 of 67 PageID #:56




F.3d. 502, 506 (7th Cir. 2018) (“Epic Systems makes clear that a waiver of the right to proceed in

a class or collective arbitration is valid.”).

        WHEREFORE, for the foregoing reasons, Respondus respectfully requests that this Court

enter an Order compelling Plaintiff Veiga to arbitrate his claims against Respondus on an

individualized basis within this judicial district or other mutually agreeable location, and to stay

these proceedings pending completion of arbitration.


 Dated: June 4, 2021                         RESPONDUS, INC.

                                             By: /s/ Bonnie Keane DelGobbo

                                             Bonnie Keane DelGobbo (bdelgobbo@bakerlaw.com)
                                             BAKER & HOSTETLER LLP
                                             One North Wacker Drive, Suite 4500
                                             Chicago, Illinois 60606-2841
                                             Telephone: (312) 416-6200

                                             Joel Griswold (jcgriswold@bakerlaw.com)
                                             BAKER & HOSTETLER LLP
                                             200 South Orange Avenue, Suite 2300
                                             Orlando, Florida 32801-3432
                                             Telephone: (407) 649-4088

                                             Counsel for Defendant




                                                   9
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 10 of 67 PageID #:57




                               CERTIFICATE OF SERVICE

       The undersigned attorney certifies that on June 4, 2021, she caused a true copy of the

foregoing document to be filed and served via the Court’s CM/ECF system, which will send notice

of the filing to all counsel of record. Parties may access the filing through the Court’s CM/ECF

system.



                                                /s/ Bonnie Keane DelGobbo




                                              10
Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 11 of 67 PageID #:58




                EXHIBIT 1
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 12 of 67 PageID #:59




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 LUCIUS VEIGA, MICHAEL                                )
 STERCHELE, and ALEX PARKER                           )
 ZIMMERMAN, on behalf of themselves                   )
 and all others similarly situated,                   )
                                                      )
                 Plaintiff,                           )
                                                            Case No. 1:21-cv-02620
                                                      )
         v.                                           )
                                                      )
 RESPONDUS, INC.,                                     )
                                                      )
                 Defendant.                           )

       DECLARATION OF DAVID SMETTERS REGARDING LUCIUS VEIGA’S
                      ARBITRATION AGREEMENT

        I, David Smetters, pursuant to 28 U.S.C. §1746, hereby declare as follows:

        1.      This declaration is based on my personal knowledge and my review of records

maintained in the ordinary course of business. I would be competent to testify to the information

in this declaration at a trial or hearing in this matter.

        2.      I am Chief Executive Officer at Respondus, Inc. (“Respondus”). I have held my

current position since August 2000, and have been employed by Respondus since August 2000.

By virtue of my position, I am familiar with the process students must follow before they can take

an exam using Respondus Monitor, the Respondus Monitor – Student Terms of Use (“Student

Terms of Use”), and the records maintained by Respondus in the ordinary course of business

concerning students’ consent to the Student Terms of Use.

        3.      In order for a student to take an exam using Respondus Monitor, the student must

first select the exam from within the student’s university’s learning management system and

indicate that they are ready to begin the exam.
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 13 of 67 PageID #:60




       4.      After a student selects and chooses to begin an exam, Respondus Monitor presents

the student with a screen displaying the Student Terms of Use in black font against a plain white

background. Students can view the full text of the Student Terms of Use by using the scroll bar

along the right side of the screen. Immediately below the full text of the Student Terms of Use is

one button indicating “Agree” and one button indicating “Disagree.” A true and correct copy of

the layout and visual appearance of the screen described in this Paragraph is below:




       5.      In order to proceed past the screen described in Paragraph 4, a student must

affirmatively select the “Agree” button. It is not possible for a student to use Respondus Monitor

to take an exam without viewing the screen and completing the steps described in Paragraph 4,

including providing affirmative consent to the Student Terms of Use by affirmatively selecting the

“Agree” button.




                                                2
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 14 of 67 PageID #:61




       6.      If a student selects the “Disagree” button on the screen discussed in Paragraph 4,

the student is not able to proceed past the screen described in Paragraph 4 and is not able to use

Respondus Monitor to take the exam.

       7.      The process described in Paragraphs 3 through 6 of this declaration has been in

effect from before January 17, 2021 through the present.

       8.      On January 17, 2021, the Student Terms of Use applicable to all persons at all

institutions nationwide that use Respondus Monitor were amended to, among other things, add an

individual arbitration agreement. Prior to January 17, 2021, the Student Terms of Use did not

contain an individual arbitration agreement. The individual arbitration agreement has remained

the same from January 17, 2021 through the present, though other portions of the Student Terms

of Use have been amended.

       9.      A true and correct copy of the version of the Student Terms of Use that was in effect

for all students at Northwestern University from January 17, 2021 through January 20, 2021 and

which was displayed to students on the screen described in Paragraph 4 during that timeframe is

attached hereto as Exhibit A. Section 4 of these Student Terms of Use contains the mandatory

arbitration agreement.

       10.     A true and correct copy of the version of the Student Terms of Use that was in effect

for all students at Northwestern University from January 21, 2021 through March 15, 2021 and

which was displayed to students on the screen described in Paragraph 4 during that timeframe is

attached hereto as Exhibit B. Section 4 of these Student Terms of Use contains the mandatory

arbitration agreement.

       11.     A true and correct copy of the version of the Student Terms of Use that was in effect

for all students at Northwestern University from March 16, 2021 through May 24, 2021 and which




                                                 3
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 15 of 67 PageID #:62




was displayed to students on the screen described in Paragraph 4 during that timeframe is attached

hereto as Exhibit C. Section 4 of these Student Terms of Use contains the mandatory arbitration

agreement.

       12.     A true and correct copy of the Student Terms of Use that has been in effect for all

students at Northwestern University from May 25, 2021 through the present and which has been

displayed to students on the screen described in Paragraph 4 during that timeframe is attached

hereto as Exhibit D. Section 4 of these Student Terms of Use contains the mandatory arbitration

agreement.

       13.     According to records maintained by Respondus in the ordinary course of business,

a Northwestern University student named Lucius Veiga took exams using Respondus Monitor and

consented to the Student Terms of Use attached hereto as Exhibit D on the following dates: May

25, 2021 and May 26, 2021.

       I declare under penalty of perjury that the foregoing is true and correct.


                   4 2021
 Executed on: June ___,
                                                     DAVID SMETTERS




                                                 4
Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 16 of 67 PageID #:63




               EXHIBIT A
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 17 of 67 PageID #:64




Respondus Monitor ‐ Student Terms of Use
These Terms of Use (“Terms”), which incorporate the Respondus Help Center Terms of Use (“Help
Center Terms”) included at the end of these Terms, are an agreement between you and Respondus, Inc.
(“Respondus”), and between you and your learning institution, or your school (your “Institution”),
regarding your use of Respondus Monitor®. By using Respondus Monitor, you agree to these Terms in
full and that you are age 14 or older, or age 16 or older in the EEA, and if under the age of 18 and
located in the United States of America, such Terms have been agreed to by your parent or guardian.

Respondus Monitor is a cloud‐based service (“Respondus Monitor Services”) and software (“Respondus
Monitor Software”) (also collectively referred to in these Terms as “Respondus Monitor”), that work
together to provide an online interactive database of video, audio, and other data captured during
student testing or assessment sessions for your Institution’s use in monitoring student participation in
such sessions. The purpose of such monitoring is for your Institution to be confident that the identified
individuals / students are those permitted to participate in the testing or assessment sessions, and to
deter inappropriate behavior that might impact the integrity of the assessment process.

The Respondus Help Center includes software functions as a part of the Respondus Monitor Services
(“Help Services”) provided by Respondus that enable users of LockDown Browser (another software
solution provided by Respondus) and Respondus Monitor to troubleshoot technical issues. The Help
Services may include, for example, a webcam check, system check, the ability to report an issue to
Respondus, and links to knowledge base materials and technical support.

NOTE: THESE TERMS CONTAIN AN ARBITRATION AND CLASS ACTION WAIVER PROVISION IN THE
“ARBITRATION” SECTION BELOW THAT AFFECTS YOUR RIGHTS UNDER THESE TERMS AND WITH
RESPECT TO ANY DISPUTE BETWEEN YOU AND RESPONDUS OR OUR AFFILIATES. BY USING RESPONDUS
MONITOR, YOU ACKNOWLEDGE THAT YOU HAVE READ AND REVIEWED THESE TERMS IN THEIR
ENTIRETY, YOU AGREE TO THESE TERMS, AND THESE TERMS CONSTITUTE BINDING AND ENFORCEABLE
OBLIGATIONS ON YOU.

1. REQUIREMENTS OF YOUR INSTITUTION

Your Institution is requiring its students to use Respondus Monitor for certain, or all, courses. In order to
use Respondus Monitor, you must agree to these Terms in full.

a. HOW “RESPONDUS MONITOR” WILL BE USED. The use of Respondus Monitor will require individual
student activity to be recorded, both audibly and visually, during certain assessment sessions. Other
data related to individual student activity during assessment sessions may also be recorded by
Respondus Monitor, such as, for example, without limitation, time taken by a student to answer specific
inquiries on an assessment. The recordings are controlled by your Institution and will be processed by an
agent of your Institution, namely, Respondus, through its Respondus Monitor Services. Respondus
Monitor may analyze the recordings through automated processes to generate additional data derived
from the recordings, with the additional data being associated with individual students for use by your
Institution in evaluating the recordings. This additional information includes the creation of a temporary
template of facial identifiers during automated processing, and such template is used in the temporary
memory of the server executing the Respondus Monitor software to determine whether the student
who started the exam differs from the person currently in the video frame being processed by the



RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 18 of 67 PageID #:65




Respondus Monitor Service. The template is not saved to the cloud server’s database or storage and is
cleared from the server’s memory by Respondus Monitor after the processing is complete. The
additional data, as well as the original recordings, may be evaluated by agents of your Institution,
including your instructors, to review, assess, and analyze student performance and conduct, among
other things, for the purpose of improving educational processes for students, including investigating
student conduct violations. Your Institution works with Respondus to help ensure your privacy regarding
the recordings and to comply with applicable laws and regulations as to any information or data
(including any of the video or audio recordings). See the sections below “PRIVACY” and “PRIVACY AND
SECURITY POLICY”. The complete Respondus Privacy Policy is available at www.respondus.com/privacy,
and we recommend that you review it carefully.

b. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during use of
Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
Neither Respondus nor your Institution is responsible for, nor liable for, any mistakes, inaccuracies, lack
of usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus Monitor by users. You also understand that your Institution
does not, and has no obligation to, monitor, pre‐screen nor pre‐approve information or data, but that
your Institution shall nonetheless have the right (but not the obligation) in its sole discretion, to refuse,
delete or move any information or data that is available via Respondus Monitor, for any reason,
including a violation of any of these Terms.

c. WARRANTIES YOU PROVIDE TO YOUR INSTITUTION. You warrant and represent to your Institution
that you are not infringing the intellectual property rights of others whenever you provide information
or data on or through Respondus Monitor. You also agree that your Institution is not responsible for
protecting any intellectual property rights you, or another party, may assert in any information or data
you provide to Respondus Monitor.

d. OPT‐OUT. If you cease to agree with these Terms, or the privacy and security policy below at some
point in the future, you may opt‐out by contacting your Institution. However, opting‐out may affect how
you will need to complete your course, and your Institution makes no representations regarding how it
will affect your relevant course or any ramifications from opt‐out (e.g., you may not be able to complete
the requirements of such course). As such, we encourage you to speak with your instructor before
opting out.

e. DISCLAIMERS. Your Institution disclaims responsibility or liability for the accuracy, content,
completeness, legality, reliability, operability or availability of information or data in the Respondus
Monitor Service or Software. Your Institution further disclaims any responsibility for the deletion, failure
to store, mis‐delivery, or untimely delivery of any information or data. Your Institution disclaims any
responsibility for any harm resulting from downloading or accessing any information or data through
Respondus Monitor. You will bear all risk associated with any information or data you access. Your
access or use of any information or data provided by Respondus Monitor or third parties is conditioned
on your agreement to these Terms including these disclaimer provisions. Further disclaimers applicable
to your relationship with your Institution, as well as with Respondus, are set forth below in the
DISCLAIMER section under REQUIREMENTS OF RESPONDUS AND LICENSE PROVIDED BY RESPONDUS.

f. PRIVACY. The section below entitled PRIVACY & SECURITY POLICY, in conjunction with the full
Respondus Privacy Policy available at www.respondus.com/privacy, shall govern the privacy policy with


RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 19 of 67 PageID #:66




respect to Respondus Monitor. You agree with all reservations of right(s), disclaimers of liability,
promises, and acknowledgements governing your relationship with Respondus under the PRIVACY &
SECURITY POLICY and the full Respondus Privacy Policy available at www.respondus.com/privacy. As
controller of the data, your Institution reserves the right at all times to disclose any information or data
(including recordings and any content to the extent applicable) pertaining to you or any other user, as
necessary, to comply with the law, a regulation or a governmental request.

g. MISCELLANEOUS. All legal issues arising from or related to the use of Respondus Monitor between
you and your Institution shall be construed in accordance with the laws of the state in which your
Institution resides, or if your Institution resides in more than one state, the state in which you attend
your Institution, or the state in which the branch of your Institution resides with which you correspond.
By using Respondus Monitor and thus agreeing to these Terms, you consent to personal jurisdiction and
venue in the state and federal courts located in and serving the county in which your Institution resides,
or if your Institution resides in more than one county, the county in which you attend your Institution, or
the county in which the branch of your Institution resides with which you correspond. Your Institution
may terminate your use of Respondus Monitor if you violate these Terms, and will terminate your use if
you use Respondus Monitor to infringe on the intellectual property rights of others. If your Institution
should fail to enforce any right or provision in these Terms, this failure shall not constitute a waiver of
such right or provision or of any other rights or provisions in these Terms. If a court or trier of fact
should find that one or more rights or provisions set forth in these Terms are invalid, you agree that the
remainder of the right or provisions shall be enforceable and that, to the extent permitted by law, the
court shall give effect to the parties’ intentions, as reflected in any such right or provision that has been
declared invalid or unenforceable. If you do not agree to the Terms, you will not be permitted to use
Respondus Monitor. Any term that would naturally survive termination of these Terms shall survive,
such as, for example, the disclaimers, limitations on liabilities, and any warranties you provide herein,
and this miscellaneous section.

h. Your Institution may terminate your access to Respondus Monitor at any time, if there is a violation of
these Terms.

2. LICENSE REQUIREMENTS PROVIDED BY RESPONDUS

To the extent any terms below conflict with any terms under the REQUIREMENTS OF YOUR INSTITUTION
above, the terms above shall govern with respect to your relationship with your Institution and the
terms below shall govern with respect to your relationship with Respondus.
In addition, you acknowledge and understand that certain actions set forth in these Terms, which may
be taken by Respondus (as outlined below), shall be taken at the direction of your Institution with
Respondus acting as an agent of your Institution.

a. LICENSE GRANT AND ONLINE USE. If you accept these Terms and pay the required license fees to
Respondus (if required by your Institution or Respondus, at its discretion, as set forth below in the
Section entitled FEES), you are granted a limited, non‐exclusive, non‐transferable, non‐assignable license
to use Respondus Monitor subject to the conditions of these Terms. You may not modify, distribute, sell,
or sublicense any part of Respondus Monitor. You may not reverse engineer or attempt to extract the
source code of Respondus Monitor, unless laws prohibit those restrictions or you have written
permission from Respondus. Respondus Monitor is licensed to you, not sold or transferred to you. You
agree that you may not use Respondus Monitor in any way that conflicts with or violates these Terms or


RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 20 of 67 PageID #:67




other agreements between you and any third‐party, including that of your Institution’s learning
management system (“LMS”) through which you are accessing the Respondus Monitor Services.

b. FEES. The license grant to use Respondus Monitor is separate from the license grant to use
Respondus’ LockDown Browser solution. If you are initiating Respondus Monitor for demonstration
purposes only, you will not be charged. Also, Respondus may grant you a temporary license free‐of‐
charge to use Respondus Monitor, at its sole discretion (such as, for example, for beta testing or pilot
program purposes), but such free license grant may be terminated at any time by Respondus at its sole
discretion.

c. PRIVACY & SECURITY POLICY. Respondus cares about your privacy and the security of your personal
data. The Respondus Privacy Policy is available at www.respondus.com/privacy, and we recommend
that you review it carefully. The information below summarizes important aspects of the security used
with Respondus Monitor and how we process your personal data.

Respondus Monitor uses the following methods to limit access to personal information or data (e.g.,
student recordings or other personal information):

• Respondus Monitor uses industry standard SSL (Secure Socket Lay) or TLS (Transport Layer Security)
encryption to transfer information.
• Student identifiable information including name, grade, course name, and photos that show
identification cards can only be accessed through the learning management system’s (LMS’s) extension
architecture (e.g., LTI, Blackboard Building Block).
• Only users with instructor credentials for the LMS course (e.g., instructors, teaching assistants, LMS
administrators) are able to view video sessions in conjunction with student identifiable information.

d. USE OF RESPONDUS MONITOR. Video URLs are “one‐time use” and will not function if copied.
Respondus uses independent, third‐party security firms to perform penetration testing and other
vulnerability scans of the Respondus Monitor system. This includes a review of the Respondus Monitor
architecture and the testing for vulnerabilities and exploits. Unfortunately, no data transmission over
the Internet is 100% secure, and Respondus does not warrant nor guarantee the security of any
information collected using its services. By agreeing to these Terms, you agree to use Respondus
Monitor at your own risk, and agree that Respondus shall not be liable if a security breach occurs, if the
site malfunctions, or if information is misused or mismanaged in any way to your detriment or the
detriment of a student or third party, whether by Respondus, your institution, or an unauthorized third
party.

The use of Respondus Monitor will require individual student activity to be recorded, both audibly and
visually, during certain assessment sessions. Other data related to individual student activity during
assessment sessions may also be recorded by Respondus Monitor, such as, for example, without
limitation, time taken by a student to answer specific inquiries on an assessment. The recordings are
controlled by your Institution and will be processed by an agent of your Institution, namely, Respondus,
through its Respondus Monitor Services. Respondus Monitor may analyze the recordings through
automated processes to generate additional data derived from the recordings, with the additional data
being associated with individual students for use by your Institution in evaluating the recordings. This
additional information includes the creation of a temporary template of facial identifiers during
automated processing, and such template is used in the temporary memory of the server executing the


RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 21 of 67 PageID #:68




Respondus Monitor software to determine whether the student who started the exam differs from the
person currently in the video frame being processed by the Respondus Monitor Service. The template is
not saved to the cloud server’s database or storage and is cleared from the server’s memory by
Respondus Monitor after the processing is complete. The additional data, as well as the original
recordings, may be evaluated by agents of your Institution, including your instructors, to review, assess,
and analyze student performance and conduct, among other things, for the purpose of improving
educational processes for students, including investigating student conduct violations. Your Institution
works with Respondus to help ensure your privacy regarding the recordings and to comply with
applicable laws and regulations as to any information or data (including any of the video or audio
recordings). Respondus personnel do not review/analyze the recordings except as may be required to
resolve technical problems, improve system performance, modify Respondus Monitor, investigate
violations of these Terms, or as may be directed by your Institution or applicable law enforcement.

Each student that is recorded will have a unique username or identification code (“ID”) and password
through your Institution’s (or its learning institution’s) LMS or learning system. The ID and password will
be usable by students, at the discretion of your Institution, to allow students to transmit recordings and
data to the online component of Respondus Monitor if required by your Institution as part of an
assessment activity. Instructors, administrators and other agents of your Institution, may access those
recordings and data related to their students through Respondus Monitor. You must guard your
password and not share it with anyone to help ensure your security and privacy of your data.

Random samples of video and/or audio recordings may be collected via Respondus Monitor and used by
Respondus to improve the Respondus Monitor capabilities for institutions and students. The recordings
may be shared with researchers under contract with Respondus to assist in such research, and the
researchers are under written obligation to maintain the video and/or audio recordings in confidence
and under terms at least as strict as these Terms. No personally identifiable information for students is
provided with the video and/or audio recordings to researchers, such as the student’s name, course
name, institution, grades, or student identification photos submitted as part of the Respondus Monitor
exam session. Other than the purposes identified above, Respondus will not share recordings or
personally identifying information of any particular student (collectively, also referred to herein as
“personal information or data”) with third parties (third parties do not include the student who provided
the personal information, the parent/guardian of a student under the age of 18 who provided personal
information, or the institution who authorized access by the student to Respondus Monitor Services)
unless specifically required by Institution. For example, if Institution uses third parties to manage
student personal information (e.g., Institution agents), the Institution may direct Respondus to share the
personal information with that third party under the Institution’s direction and control.

If, in the future, Respondus, or substantially all of its assets are acquired, the maintenance of all
collected personal information or data (including any recordings) may be transferred to the acquiring
party, provided that the acquiring party implement a privacy and security policy at least as restrictive as
this one, or otherwise compliant with current legal standards, and provided that the collected personal
information and data remain under the control of your Institution.

Respondus reserves the right at all times to disclose any information or data (including recordings and
any content to the extent applicable) stored by you, your Institution, or any other user as necessary, to




RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 22 of 67 PageID #:69




comply with the law, a regulation or a governmental request, or to edit or delete any information or
data, in whole or in part, that in Respondus’ sole discretion, is in violation of these Terms.

If you have any questions regarding the above Terms, please contact Respondus by email at or by
writing to:

Respondus, Inc.
Attn: Legal – Privacy Team
8201 164th Ave NE, Suite 200
Redmond, WA 98052
USA
Via email: privacy@Respondus.com

e. USER CONDUCT. You promise NOT to use Respondus Monitor for any of the following purposes or
activities:

i. conducting or supporting illegal activity of any type whatsoever;
ii. transmitting or storing worms or viruses or any code of a destructive nature;
iii. threatening, harassing, abusing, impersonating, injuring or intimidating others;
iv. engaging in vulgar, invasive, or hateful conduct, or conduct that invades another’s privacy;
v. interfering with others’ use of Respondus Monitor, unless such interference is for the purpose of
complying with another section of these Terms;
vi. delivering spam or collecting information to deliver spam, or sending unsolicited advertisements;
vii. decompiling, disassembling, reverse engineering or otherwise attempting to discover any source
code contained in Respondus Monitor;
viii. disguising the origin of any content transmitted through Respondus Monitor or manipulating your
presence on Respondus Monitor; and/or
ix. causing the launch of any automated system(s) that access Respondus Monitor in a manner that
sends more request messages to servers of Respondus in a given period of time than a human can
reasonably produce in the same period by using a conventional on‐line web browser.

f. RESPONDUS USERNAME/ID AND PASSWORD POLICY. You must guard the access credentials (e.g., user
name and password) that you use to access your Institution’s learning system to help ensure your own
privacy and security with respect to recordings you initiate using Respondus Monitor, and not share
those credentials with others.

g. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during use of
Respondus Monitor and for any information or data you provide to or through Respondus Monitor. You
agree that Respondus is not responsible for, nor liable for, any mistakes, inaccuracies, lack of usefulness,
defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the information or
data provided to Respondus by users. You also understand that Respondus does not, and has no
obligation to, monitor, pre‐screen nor pre‐approve information or data, but that Respondus shall
nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or move any
information or data that is available via Respondus Monitor, for any reason, including a violation of any
of these Terms (however, if Respondus elects to, for any reason, refuse, delete or move any recording of
student activity for violation of these Terms, Respondus may save a copy of such recording for access by
the Institution).


RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 23 of 67 PageID #:70




h. LICENSE PROVIDED TO RESPONDUS. Respondus Monitor will save all recordings of students for a
period of one (1) year. Institutions have the ability to retain the data for up to an additional four (4)
years. Respondus does not claim ownership in the information or data Institution or any students
provide; however, by providing information or data to Respondus, you grant Respondus, and its
affiliates, a fully paid‐up, perpetual license to use, store, modify, copy, and transmit any such
information or data for the purpose of carrying out the Respondus Monitor Services in accordance with
these Terms.

i. CHANGES. Respondus reserves the right to change these Terms at any time, at its discretion, without
advance notice to you, but by posting the new version of these Terms within the Respondus Monitor
Software. Respondus also reserves the right to terminate Respondus Monitor at any time after the end
of your current license, without notice; however, if your license is a free license, Respondus reserves the
right to terminate your license at any time without notice. If your Institution terminates use of
Respondus Monitor during your current license, such that you no longer require use of Respondus
Monitor, no refunds will be due or available.

j. WARRANTIES YOU PROVIDE. You warrant and represent during the term of this agreement to
Respondus that you are not infringing the intellectual property rights of others whenever you provide
information or data on or through Respondus Monitor. You also agree that Respondus is not responsible
for protecting any intellectual property rights you, or another party, may assert in any information or
data you provide to Respondus Monitor.

k. OPT‐OUT. If you cease to agree with these Terms, or the privacy and security policy at some point in
the future, you may opt‐out by contacting your Institution. However, opting‐out may affect how you will
need to complete your course, and Respondus makes no representations regarding how it will affect
your relevant course or resulting grade. As such, we encourage you to speak with your instructor before
opting out. Additionally, you cannot opt‐out of the Arbitration Agreement if you elect to use Respondus
Monitor.

l. DISCLAIMERS. Respondus disclaims responsibility or liability for the accuracy, content, completeness,
legality, reliability, operability or availability of information or data in Respondus Monitor. Respondus
further disclaims any responsibility for the deletion, failure to store, mis‐delivery, or untimely delivery of
any information or data. Respondus disclaims any responsibility for any harm resulting from
downloading or accessing any information or data through Respondus Monitor. You will bear all risk
associated with any information or data you access. Your access or use of any information or data
provided by Respondus Monitor or third parties in connection with Respondus Monitor is conditioned
on your agreement to these Terms including these disclaimer provisions.

RESPONDUS MONITOR IS PROVIDED TO YOU, “AS IS,” WITH NO WARRANTIES WHATSOEVER. ALL
EXPRESS, IMPLIED, AND STATUTORY WARRANTIES, INCLUDING, WITHOUT LIMITATION, THE
WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, AND NON‐INFRINGEMENT,
ARE EXPRESSLY DISCLAIMED. TO THE FULLEST EXTENT PERMITTED BY LAW, RESPONDUS DISCLAIMS ANY
WARRANTIES FOR THE SECURITY, RELIABILITY, TIMELINESS, AND PERFORMANCE OF RESPONDUS
MONITOR. RESPONDUS SIMILARLY DISCLAIMS, TO THE FULLEST EXTENT PERMITTED BY LAW, ANY
WARRANTIES FOR ANY INFORMATION OR ADVICE OBTAINED THROUGH RESPONDUS MONITOR.




RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 24 of 67 PageID #:71




YOU UNDERSTAND AND AGREE THAT ANY INFORMATION OR DATA DOWNLOADED OR OTHERWISE
OBTAINED THROUGH THE USE OF RESPONDUS MONITOR IS OBTAINED AT YOUR OWN DISCRETION AND
RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR ANY DAMAGES TO YOUR COMPUTER SYSTEM
OR LOSS OF DATA THAT MAY RESULT IN THE DOWNLOAD OF SUCH INFORMATION OR DATA. UNDER NO
CIRCUMSTANCES SHALL RESPONDUS BE LIABLE TO ANY USER ON ACCOUNT OF THAT USER’S USE OR
MISUSE OF AND RELIANCE ON RESPONDUS MONITOR. SUCH LIMITATION OF LIABILITY SHALL APPLY TO
PREVENT RECOVERY OF DIRECT, INDIRECT, INCIDENTAL, CONSEQUENTIAL, SPECIAL, EXEMPLARY, AND
PUNITIVE DAMAGES (EVEN IF RESPONDUS HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES).
SUCH LIMITATION OF LIABILITY SHALL APPLY WHETHER THE DAMAGES ARISE FROM USE OR MISUSE OF
AND RELIANCE ON RESPONDUS MONITOR, FROM INABILITY TO USE THE RESPONDUS MONITOR, OR
FROM THE INTERRUPTION, SUSPENSION, OR TERMINATION OF RESPONDUS MONITOR OR BY REASON
OF ANY INFORMATION OR ADVICE RECEIVED THROUGH RESPONDUS MONITOR. THE FOREGOING
DISCLAIMERS, WAIVERS AND LIMITATIONS SHALL APPLY NOTWITHSTANDING ANY FAILURE OF
ESSENTIAL PURPOSE OF ANY LIMITED REMEDY.

m. INTELLECTUAL PROPERTY. All web design, text, graphics, the selection and arrangement thereof, and
all software compilations, underlying source code, software and all other material on Respondus
Monitor are either the copyright or trademark of Respondus, or covered by other intellectual property
rights of Respondus or a third party licensor of Respondus. Any use of Respondus Monitor beyond the
purpose indicated above is strictly prohibited. You shall not acquire any rights in Respondus’ intellectual
property by using Respondus Monitor.

n. MISCELLANEOUS. Except as otherwise specified in these Terms, all legal issues arising from or related
to the use of Respondus Monitor between you and Respondus shall be construed in accordance with the
laws of the State of Washington, without regard to conflicts of law principles. Respondus may terminate
your use of Respondus Monitor if you violate these Terms, and will terminate your use if you use
Respondus Monitor to repeatedly infringe on the intellectual property rights of others. These Terms
constitute the entire agreement between the parties with respect to the subject matter contained
herein and supersede any other agreements between Respondus and you regarding Respondus
Monitor. If Respondus should fail to enforce any right or provision in these Terms, this failure shall not
constitute a waiver of such right or provision or of any other rights or provisions in these Terms. If a
court should find that one or more rights or provisions set forth in these Terms are invalid, you agree
that the remainder of the right or provisions shall be enforceable and that, to the extent permitted by
law, the court shall give effect to the parties’ intentions, as reflected in any such right or provision that
has been declared invalid or unenforceable. If you do not agree to the Terms, you will not be permitted
to use this Service. Any term that would naturally survive termination of these Terms shall survive, such
as, for example, the DISCLAIMERS, WARRANTIES YOU PROVIDE, and this MISCELLANEOUS section.

3. DISPUTES, GOVERNING LAW, VENUE and JURISDICTION

By using Respondus Monitor, you agree that these Terms shall be governed by the laws of the State of
Washington USA without regard to its conflict of law provisions.
For any cause of action initiated against Respondus relating to these Terms, you and Respondus agree to
submit to the exclusive and personal jurisdiction of the court system for Redmond, Washington USA.

4. ARBITRATION



RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 25 of 67 PageID #:72




Respondus operates in interstate commerce and this Arbitration Agreement is a contract evidencing a
transaction involving commerce that is governed by the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1 et
seq. This Agreement contains the rules and procedures that you must follow to resolve any disputes
between you and Respondus—please read it carefully. It contains procedures for MANDATORY BINDING
ARBITRATION AND A CLASS ACTION WAIVER. You agree that, by agreeing to these Terms of Use, the U.S.
Federal Arbitration Act governs the interpretation and enforcement of this provision, and that you and
Respondus are each waiving the right to a trial by jury or to participate in a class action.

Scope of Arbitration Agreement. You acknowledge and agree that any dispute or claim relating in any
way to your access or use of Respondus Monitor or to any other aspect of your relationship with
Respondus will be resolved by binding arbitration, rather than in court, except that (1) you may assert
claims in small claims court if your claims qualify, so long as the matter remains in such court and
advances only on an individual (non‐class, non‐representative) basis; and (2) you or Respondus may seek
equitable relief in court for infringement or other misuse of intellectual property rights (such as
trademarks, trade dress, domain names, trade secrets, copyrights, and patents). This Arbitration
Agreement shall apply, without limitation, to all claims that arose before this or any prior
agreement. NOW OR IN THE FUTURE, THERE MAY BE LAWSUITS AGAINST RESPONDUS ALLEGING
CLASS, COLLECTIVE, AND/OR REPRESENTATIVE CLAIMS. SUCH CLAIMS, IF SUCCESSFUL, COULD RESULT
IN SOME MONETARY RECOVERY TO YOU. THE EXISTENCE OF SUCH CLASS, COLLECTIVE, AND/OR
REPRESENTATIVE LAWSUITS DOES NOT MEAN THAT SUCH LAWSUITS WILL ULTIMATELY SUCCEED. BUT
IF YOU AGREE TO ARBITRATION WITH RESPONDUS, YOU ARE AGREEING IN ADVANCE THAT YOU WILL
NOT PARTICIPATE IN OR SEEK TO RECOVER MONETARY OR OTHER RELIEF UNDER SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS. INSTEAD, BY AGREEING TO ARBITRATION, YOU
MAY BRING YOUR CLAIMS AGAINST RESPONDUS IN AN INDIVIDUAL ARBITRATION PROCEEDING. IF
SUCCESSFUL ON SUCH CLAIMS, YOU COULD BE AWARDED MONEY OR OTHER RELIEF BY AN
ARBITRATOR.

Arbitration Rules and Forum. This Arbitration Agreement is governed by the Federal Arbitration Act in
all respects. To begin an arbitration proceeding, you must send a letter requesting arbitration and
describing your claim to our registered agent, C T Corporation System, 711 Capitol Way South, Suite 204,
Olympia, Washington 98501. The arbitration will be conducted by the American Arbitration Association
(“AAA”) under its rules, including the AAA’s Supplementary Procedures for Consumer‐Related Disputes.
The AAA’s rules are available at www.adr.org or by calling the AAA at 1‐800‐778‐7879. Payment of all
filing, administration, and arbitration fees will be governed by the AAA’s rules. We will reimburse those
fees for claims totaling less than $10,000 unless the arbitrator determines the claims are frivolous.
Likewise, Respondus will not seek attorneys’ fees and costs in arbitration unless the arbitrator
determines the claims are frivolous. If the AAA is not available to arbitrate, the parties will select an
alternative arbitral forum.

Arbitrator Powers. The arbitrator, and not any federal, state, or local court or agency, shall have
exclusive authority to resolve any dispute relating to the interpretation, applicability, enforceability or
formation of this Arbitration Agreement including, but not limited to any claim that all or any part of this
Arbitration Agreement is void or voidable. The arbitration will decide the rights and liabilities, if any, of
you and Respondus. The dispute will not be consolidated with any other matters or joined with any
other cases or parties. The arbitrator will have the authority to grant motions dispositive of all or part of
any claim or dispute. The arbitrator will have the authority to award monetary damages and to grant


RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 26 of 67 PageID #:73




any non‐monetary remedy or relief available to an individual under applicable law, the arbitral forum’s
rules, and these Terms. The arbitrator will issue a written award and statement of decision describing
the essential findings and conclusions on which the award is based, including the calculation of any
damages awarded. The arbitrator has the same authority to award relief on an individual basis that a
judge in a court of law would have. The award of the arbitrator is final and binding on you and
Respondus.

Waiver of Jury Trial. YOU AND RESPONDUS EACH KNOWINGLY AND VOLUNTARILY WAIVE ANY
CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A JUDGE OR JURY TRIAL. You
and Respondus are instead electing to have claims and disputes resolved by arbitration. An arbitrator
can award on an individual basis the same damages and relief as a court and must follow these Terms as
a court would. However, there is no judge or jury in arbitration, and court review of an arbitration award
is limited. In any litigation between you and Respondus over whether to vacate or enforce an arbitration
award, you and Respondus waive all rights to a jury trial, and elect instead to have a judge resolve the
dispute.

Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES WITHIN THE SCOPE OF THIS
ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND NOT ON A CLASS,
COLLECTIVE, REPRESENTATIVE, OR AGGREGATE BASIS. CLAIMS OF MORE THAN ONE CUSTOMER OR
USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY OR CONSOLIDATED WITH THOSE OF ANY OTHER
CUSTOMER OR USER. THE ARBITRATOR MAY NOT CONSOLIDATE PROCEEDINGS ON MORE THAN ONE
PERSON’S OR ENTITY’S CLAIMS, AND MAY NOT OTHERWISE AUTHORIZE OR PRESIDE OVER ANY FORM
OF A CLASS, COLLECTIVE, REPRESENTATIVE OR AGGREGATE PROCEEDING. Claims of two or more
persons or entities may not be joined or consolidated in the same arbitration because the arbitrator may
only hear your individual claims and does not have the authority to hear claims on a class, collective,
representative, or aggregate basis, or to award relief to anyone other than you and/or Respondus in a
single arbitration. If any provision of this paragraph is determined to be unenforceable with respect to
any claim or any particular remedy for a claim, then that claim or particular remedy (and only that claim
or remedy) must remain in court and be severed from any arbitration.

Exclusive Venue. To the extent the parties are permitted under these Terms to initiate litigation in a
court, both you and Respondus agree that all claims and disputes arising out of or relating to the
Agreement will be litigated exclusively in the state or federal court system for Redmond, Washington
USA.

YOU SHOULD READ THE PROVISIONS OF THIS AGREEMENT CAREFULLY, AS IT PROVIDES THAT
VIRTUALLY ANY DISPUTE RELATED TO RESPONDUS MAY BE RESOLVED ONLY THROUGH BINDING
ARBITRATION. ARBITRATION REPLACES THE RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A
JURY TRIAL AND THE RIGHT TO PARTICIPATE IN A CLASS, COLLECTIVE, REPRESENTATIVE, OR
AGGREGATE ACTION OR SIMILAR PROCEEDING.

YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED AND READ OR HAVE HAD THE OPPORTUNITY TO
READ THIS ARBITRATION AGREEMENT. YOU UNDERSTAND THAT THIS ARBITRATION AGREEMENT
REQUIRES THAT DISPUTES THAT INVOLVE THE MATTERS SUBJECT TO THE AGREEMENT BE SUBMITTED
TO ARBITRATION PURSUANT TO THE ARBITRATION AGREEMENT RATHER THAN TO A JUDGE AND
JURY IN COURT.



RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 27 of 67 PageID #:74




YOU AGREE THAT YOU INTEND TO BE BOUND BY THE AGREEMENT AND SPECIFICALLY THE
ARBITRATION PROVISIONS SET FORTH ABOVE.

5. 5. RESPONDUS HELP CENTER TERMS OF USE (“HELP CENTER TERMS”)

Accepting the Terms

In order to use the Help Services, you must first agree to the terms (“Help Center Terms”) as outlined
herein. You may not use the Help Services if you do not accept the Help Center Terms. You can accept
the Help Center Terms by: (A) clicking to accept or agree to the Help Center Terms, where this option is
made available to you by Respondus in the user interface of the Help Services or other Respondus
services; or (B) by otherwise using the Help Services. In any case, you understand and agree that
Respondus will treat your use of the Help Services as acceptance of the Help Center Terms.

Data Collection

Respondus collects data to operate effectively and to strive to provide you with the best experience
with LockDown Browser and Respondus Monitor. You provide some of this data directly, such as when
you contact us for support. Some data is obtained by recording how you interact with LockDown
Browser and Respondus Monitor by, for example, receiving error reports or usage data from software
running on your device. The data we collect depends on the features you use within the Help Services,
and includes the following:

Webcam & Microphone Check. The webcam and microphone check streams video and audio from your
webcam to the Respondus servers. The video and audio can then be played back by you to ensure the
webcam and microphone are working properly. The video and audio recorded during the webcam and
microphone check is stored in temporary cache on the Respondus server and is automatically deleted in
about an hour. Persistent storage is not used for these recordings, and Respondus does not provide a
way to electronically identify the recordings as being transmitted from a specific user.

System Check. The System Check gathers certain information from your computing device, the
networking environment, the institution’s Learning Management System, and the Respondus Monitor
server itself.

All data gathered during the System Check is presented to you on your screen, including a unique
System Check ID. The System Check does NOT contain username, user ID, or the password used to
access the institution’s Learning Management System.

You have the option to send System Check results by email, and if so, you must enter an email address
for the recipient of the email message. If the System Check results are sent by email, log files from
software of LockDown Browser are additionally transmitted to a Respondus server. Log files contain
details of the interaction between the LockDown Browser and/or Respondus Monitor and your
institution’s Learning Management System, from the time you log into the Learning Management
System using LockDown Browser and Respondus Monitor until the session is exited or terminated. Log
files are stored locally on your computer in an encrypted format and, if transmitted to Respondus, are
sent in encrypted format over HTTPS. Log files do NOT contain user name, user ID, or the password used
to access the institution’s Learning Management System.




RMS 011521
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 28 of 67 PageID #:75




System Check data and log files may be sent to a Respondus web server or a third party cloud server for
storage and further processing by Respondus. Respondus may use System Check data and log files to
assist you with a technical issue. Respondus may also aggregate and analyze the System Check data to,
for example, improve the Software or its technical support services. System Check data and log files
aren’t sold, distributed, or made available to affiliate or third party businesses. Report An Issue. The
Report An Issue feature enables you to provide feedback to Respondus about LockDown Browser and
Respondus Monitor. System Check data and log files, as described above, are collected by Respondus
during this process. You are informed of this transfer of data each time the Report An Issue feature is
used. You may choose, but you are not required, to provide an email address and contact information
when using this feature. System Check data, log files, contact information, and feedback you provide
may be sent to a Respondus web server or third party cloud server for storage and further processing by
Respondus. No data transmitted to Respondus from the Report An Issue feature will be sold, distributed,
or made available to affiliate or third party businesses.

Knowledge Base. A link to a knowledge base is included with the Help Services. No individual data is
collected by Respondus during the use of the knowledge base, although Respondus may analyze
aggregated usage data of the knowledge base to improve the service.

Technical Support. The Help Services contains a link that enables users to open a support ticket with
Respondus. The System Check ID for the most recent System Check is automatically populated in the
form used to create a support ticket. You must additionally enter your name and a valid email address
through which communication with the Respondus support team will occur. Throughout the support
process, you may, at your own discretion, provide personally identifiable information that will be used
by the Respondus support team to analyze the issue and communicate with you. All communication
between you and the Respondus team is stored on a Respondus web server, and may be used by
Respondus to improve LockDown Browser and/or Respondus Monitor.

Express Incorporation. All conditions set forth in these Respondus Monitor Terms, including the
RESPONDUS PRIVACY POLICY at www.respondus.com/privacy, and the sections PRIVACY & SECURITY
POLICY, USER CONDUCT, RESPONDUS USERNAME/ID AND PASSWORD POLICY, ACTIVITY GENERAL,
CHANGES, WARRANTIES YOU PROVIDE, OPT‐OUT, DISCLAIMERS, INTELLECTUAL PROPERTY, and
MISCELLANEOUS are expressly included in these Help Center Terms to the extent applicable. Respondus
will not use data collected via the Help Services in any way that conflicts with the Respondus Monitor
Terms of Use. You also expressly agree not to use the Help Services in any way that conflicts with any of
the Respondus Monitor Terms of Use, including, for example, the prohibitions set forth in the USER
CONDUCT section. Respondus cannot make representations regarding the security of information you
transmit through a third party email service provider while using the Help Services; however, to the
extent Respondus stores any such information, the storage of such information by Respondus will be
compliant with the PRIVACY & SECURITY POLICY and the RESPONDUS PRIVACY POLICY
at www.respondus.com/privacy.




RMS 011521
Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 29 of 67 PageID #:76




               EXHIBIT B
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 30 of 67 PageID #:77



                                        RESPONDUS MONITOR


                                       STUDENT TERMS OF USE




These Terms of Use (“Terms”), which incorporate the Respondus Help Center Terms of Use (“Help Center
Terms”) included at the end of these Terms, are an agreement between you and Respondus, Inc.
(“Respondus”), and between you and your learning institution, or your school (your “Institution”),
regarding your use of Respondus Monitor®. By using Respondus Monitor, you agree to these Terms in full
and that you are age 14 or older, or age 16 or older in the EEA, and if under the age of 18 and located in
the United States of America, such Terms have been agreed to by your parent or guardian.

Respondus Monitor is a cloud-based service (“Respondus Monitor Services”) and software (“Respondus
Monitor Software”) (also collectively referred to in these Terms as “Respondus Monitor”), that work
together to provide an online interactive database of video, audio, and other data captured during student
testing or assessment sessions for your Institution’s use in monitoring student participation in such sessions.
The purpose of such monitoring is for your Institution to be confident that the identified individuals /
students are those permitted to participate in the testing or assessment sessions, and to deter inappropriate
behavior that might impact the integrity of the assessment process.

The Respondus Help Center includes software functions as a part of the Respondus Monitor Services (“Help
Services”) provided by Respondus that enable users of LockDown Browser (another software solution
provided by Respondus) and Respondus Monitor to troubleshoot technical issues. The Help Services may
include, for example, a webcam check, system check, the ability to report an issue to Respondus, and links
to knowledge base materials and technical support.

NOTE: THESE TERMS CONTAIN AN ARBITRATION AND CLASS ACTION WAIVER PROVISION
IN THE “ARBITRATION” SECTION BELOW THAT AFFECTS YOUR RIGHTS UNDER THESE
TERMS AND WITH RESPECT TO ANY DISPUTE BETWEEN YOU AND RESPONDUS OR OUR
AFFILIATES. BY USING RESPONDUS MONITOR, YOU ACKNOWLEDGE THAT YOU HAVE
READ AND REVIEWED THESE TERMS IN THEIR ENTIRETY, YOU AGREE TO THESE TERMS,
AND THESE TERMS CONSTITUTE BINDING AND ENFORCEABLE OBLIGATIONS ON YOU.

    1. REQUIREMENTS OF YOUR INSTITUTION

Your Institution is requiring its students to use Respondus Monitor for certain, or all, courses. In order to
use Respondus Monitor, you must agree to these Terms in full.

             a. HOW “RESPONDUS MONITOR” WILL BE USED. The use of Respondus Monitor will
require individual student activity to be recorded, both audibly and visually, during certain assessment
sessions. Other data related to individual student activity during assessment sessions may also be recorded
by Respondus Monitor, such as, for example, without limitation, time taken by a student to answer specific
inquiries on an assessment. The recordings are controlled by your Institution and will be processed by an
agent of your Institution, namely, Respondus, through its Respondus Monitor Services. Respondus Monitor
may analyze the recordings through automated processes to generate additional data derived from the
recordings, with the additional data being associated with individual students for use by your Institution in
evaluating the recordings. This additional information includes the creation of a temporary template of
facial features during automated processing, and such template is used by the server executing the
Respondus Monitor software to determine whether the student who started the exam differs from the person


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 31 of 67 PageID #:78



in the video frame throughout the duration of the exam. The template is not saved to the cloud server’s
database or storage and is cleared from the server’s memory by Respondus Monitor after the processing is
complete. The additional data, as well as the original recordings, may be evaluated by agents of your
Institution, including your instructors, to review, assess, and analyze student performance and conduct,
among other things, for the purpose of improving educational processes for students, including investigating
student conduct violations. Your Institution works with Respondus to help ensure your privacy regarding
the recordings and to comply with applicable laws and regulations as to any information or data (including
any of the video or audio recordings). See the sections below “PRIVACY” and “PRIVACY AND
SECURITY POLICY”. The complete Respondus Privacy Policy is available at
www.respondus.com/privacy, and we recommend that you review it carefully.

             b. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
Neither Respondus nor your Institution is responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus Monitor by users. You also understand that your Institution does
not, and has no obligation to, monitor, pre-screen nor pre-approve information or data, but that your
Institution shall nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or
move any information or data that is available via Respondus Monitor, for any reason, including a violation
of any of these Terms.

             c. WARRANTIES YOU PROVIDE TO YOUR INSTITUTION. You warrant and represent
to your Institution that you are not infringing the intellectual property rights of others whenever you provide
information or data on or through Respondus Monitor. You also agree that your Institution is not responsible
for protecting any intellectual property rights you, or another party, may assert in any information or data
you provide to Respondus Monitor.

              d. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy below
at some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and your Institution makes no representations regarding how
it will affect your relevant course or any ramifications from opt-out (e.g., you may not be able to complete
the requirements of such course). As such, we encourage you to speak with your instructor before opting
out.

             e. DISCLAIMERS. Your Institution disclaims responsibility or liability for the accuracy,
content, completeness, legality, reliability, operability or availability of information or data in the
Respondus Monitor Service or Software. Your Institution further disclaims any responsibility for the
deletion, failure to store, mis-delivery, or untimely delivery of any information or data. Your Institution
disclaims any responsibility for any harm resulting from downloading or accessing any information or data
through Respondus Monitor. You will bear all risk associated with any information or data you access.
Your access or use of any information or data provided by Respondus Monitor or third parties is conditioned
on your agreement to these Terms including these disclaimer provisions. Further disclaimers applicable to
your relationship with your Institution, as well as with Respondus, are set forth below in the DISCLAIMER
section under REQUIREMENTS OF RESPONDUS AND LICENSE PROVIDED BY RESPONDUS.

             f. PRIVACY. The section below entitled PRIVACY & SECURITY POLICY, in conjunction
with the full Respondus Privacy Policy available at www.respondus.com/privacy, shall govern the privacy
policy with respect to Respondus Monitor. You agree with all reservations of right(s), disclaimers of
liability, promises, and acknowledgements governing your relationship with Respondus under the
PRIVACY & SECURITY POLICY and the full Respondus Privacy Policy available at
www.respondus.com/privacy. As controller of the data, your Institution reserves the right at all times to


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 32 of 67 PageID #:79



disclose any information or data (including recordings and any content to the extent applicable) pertaining
to you or any other user, as necessary, to comply with the law, a regulation or a governmental request.

             g. MISCELLANEOUS. All legal issues arising from or related to the use of Respondus
Monitor between you and your Institution shall be construed in accordance with the laws of the state in
which your Institution resides, or if your Institution resides in more than one state, the state in which you
attend your Institution, or the state in which the branch of your Institution resides with which you
correspond. By using Respondus Monitor and thus agreeing to these Terms, you consent to personal
jurisdiction and venue in the state and federal courts located in and serving the county in which your
Institution resides, or if your Institution resides in more than one county, the county in which you attend
your Institution, or the county in which the branch of your Institution resides with which you correspond.
Your Institution may terminate your use of Respondus Monitor if you violate these Terms, and will
terminate your use if you use Respondus Monitor to infringe on the intellectual property rights of others. If
your Institution should fail to enforce any right or provision in these Terms, this failure shall not constitute
a waiver of such right or provision or of any other rights or provisions in these Terms. If a court or trier of
fact should find that one or more rights or provisions set forth in these Terms are invalid, you agree that the
remainder of the right or provisions shall be enforceable and that, to the extent permitted by law, the court
shall give effect to the parties’ intentions, as reflected in any such right or provision that has been declared
invalid or unenforceable. If you do not agree to the Terms, you will not be permitted to use Respondus
Monitor. Any term that would naturally survive termination of these Terms shall survive, such as, for
example, the disclaimers, limitations on liabilities, and any warranties you provide herein, and this
miscellaneous section.

             h. Your Institution may terminate your access to Respondus Monitor at any time, if there is a
violation of these Terms.

    2. LICENSE REQUIREMENTS PROVIDED BY RESPONDUS

To the extent any terms below conflict with any terms under the REQUIREMENTS OF YOUR
INSTITUTION above, the terms above shall govern with respect to your relationship with your Institution
and the terms below shall govern with respect to your relationship with Respondus.

In addition, you acknowledge and understand that certain actions set forth in these Terms, which may be
taken by Respondus (as outlined below), shall be taken at the direction of your Institution with Respondus
acting as an agent of your Institution.

              a. LICENSE GRANT AND ONLINE USE. If you accept these Terms and pay the required
license fees to Respondus (if required by your Institution or Respondus, at its discretion, as set forth below
in the Section entitled FEES), you are granted a limited, non-exclusive, non-transferable, non-assignable
license to use Respondus Monitor subject to the conditions of these Terms. You may not modify, distribute,
sell, or sublicense any part of Respondus Monitor. You may not reverse engineer or attempt to extract the
source code of Respondus Monitor, unless laws prohibit those restrictions or you have written permission
from Respondus. Respondus Monitor is licensed to you, not sold or transferred to you. You agree that you
may not use Respondus Monitor in any way that conflicts with or violates these Terms or other agreements
between you and any third-party, including that of your Institution’s learning management system (“LMS”)
through which you are accessing the Respondus Monitor Services.

           b. FEES. The license grant to use Respondus Monitor is separate from the license grant to use
Respondus’ LockDown Browser solution. If you are initiating Respondus Monitor for demonstration
purposes only, you will not be charged. Also, Respondus may grant you a temporary license free-of-charge



RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 33 of 67 PageID #:80



to use Respondus Monitor, at its sole discretion (such as, for example, for beta testing or pilot program
purposes), but such free license grant may be terminated at any time by Respondus at its sole discretion.

            c. PRIVACY & SECURITY POLICY. Respondus cares about your privacy and the security
of your personal data. The Respondus Privacy Policy is available at www.respondus.com/privacy, and we
recommend that you review it carefully. The information below summarizes important aspects of the
security used with Respondus Monitor and how we process your personal data.

Respondus Monitor uses the following methods to limit access to personal information or data (e.g., student
recordings or other personal information):

       Respondus Monitor uses industry standard SSL (Secure Socket Lay) or TLS (Transport Layer
        Security) encryption to transfer information.
       Student identifiable information including name, grade, course name, and photos that show
        identification cards can only be accessed through the learning management system’s (LMS’s)
        extension architecture (e.g., LTI, Blackboard Building Block).
        Only users with instructor credentials for the LMS course (e.g., instructors, teaching assistants,
        LMS administrators) are able to view video sessions in conjunction with student identifiable
        information.


Video URLs are “one-time use” and will not function if copied. Respondus uses independent, third-party
security firms to perform penetration testing and other vulnerability scans of the Respondus Monitor
system. This includes a review of the Respondus Monitor architecture and the testing for vulnerabilities
and exploits. Unfortunately, no data transmission over the Internet is 100% secure, and Respondus does not
warrant nor guarantee the security of any information collected using its services. By agreeing to these
Terms, you agree to use Respondus Monitor at your own risk, and agree that Respondus shall not be liable
if a security breach occurs, if the site malfunctions, or if information is misused or mismanaged in any way
to your detriment or the detriment of a student or third party, whether by Respondus, your institution, or an
unauthorized third party.

The use of Respondus Monitor will require individual student activity to be recorded, both audibly and
visually, during certain assessment sessions. Other data related to individual student activity during
assessment sessions may also be recorded by Respondus Monitor, such as, for example, without limitation,
time taken by a student to answer specific inquiries on an assessment. The recordings are controlled by your
Institution and will be processed by an agent of your Institution, namely, Respondus, through its Respondus
Monitor Services. Respondus Monitor may analyze the recordings through automated processes to generate
additional data derived from the recordings, with the additional data being associated with individual
students for use by your Institution in evaluating the recordings. This additional information includes the
creation of a temporary template of facial identifiers during automated processing, and such template is
used in the temporary memory of the server executing the Respondus Monitor software to determine
whether the student who started the exam differs from the person currently in the video frame being
processed by the Respondus Monitor Service. The template is not saved to the cloud server’s database or
storage and is cleared from the server’s memory by Respondus Monitor after the processing is complete.
The additional data, as well as the original recordings, may be evaluated by agents of your Institution,
including your instructors, to review, assess, and analyze student performance and conduct, and investigate
alleged student conduct violations. Your Institution works with Respondus to help ensure your privacy
regarding the recordings and to comply with applicable laws and regulations as to any information or data
(including any of the video or audio recordings). Respondus personnel do not review/analyze the
recordings except as may be required to resolve technical problems, improve system performance, modify



RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 34 of 67 PageID #:81



Respondus Monitor, investigate violations of these Terms, or as may be directed by your Institution or
applicable law enforcement.

Each student that is recorded will have a unique username or identification code (“ID”) and password
through your Institution’s (or its learning institution’s) LMS or learning system. The ID and password will
be usable by students, at the discretion of your Institution, to allow students to transmit recordings and data
to the online component of Respondus Monitor if required by your Institution as part of an assessment
activity. Instructors, administrators and other agents of your Institution, may access those recordings and
data related to their students through Respondus Monitor. You must guard your password and not share it
with anyone to help ensure your security and privacy of your data.

Random samples of video and/or audio recordings may be collected via Respondus Monitor and used by
Respondus to improve the Respondus Monitor capabilities for institutions and students. The recordings
may be shared with researchers under contract with Respondus to assist in such research. The researchers
are consultants or contractors to Respondus and are under written obligation to maintain the video and/or
audio recordings in confidence and under terms at least as strict as these Terms. The written agreements
with the researchers also expressly limit their access and use of the data to work being done for Respondus
and the researchers do not have the right to use the data for any other purposes. No personally identifiable
information for students is provided with the video and/or audio recordings to researchers, such as the
student’s name, course name, institution, grades, or student identification photos submitted as part of the
Respondus Monitor exam session. Other than the purposes identified above, Respondus will not share
recordings or personally identifying information of any particular student (collectively, also referred to
herein as “personal information or data”) with third parties (third parties do not include the student who
provided the personal information, the parent/guardian of a student under the age of 18 who provided
personal information, or the institution who authorized access by the student to Respondus Monitor
Services) unless specifically required by Institution. For example, if Institution uses third parties to manage
student personal information (e.g., Institution agents), the Institution may direct Respondus to share the
personal information with that third party under the Institution’s direction and control.

If, in the future, Respondus, or substantially all of its assets are acquired, the maintenance of all collected
personal information or data (including any recordings) may be transferred to the acquiring party, provided
that the acquiring party implement a privacy and security policy at least as restrictive as this one, or
otherwise compliant with current legal standards, and provided that the collected personal information and
data remain under the control of your Institution.

Respondus reserves the right at all times to disclose any information or data (including recordings and any
content to the extent applicable) stored by you, your Institution, or any other user as necessary, to comply
with the law, a regulation or a governmental request, or to edit or delete any information or data, in whole
or in part, that in Respondus’ sole discretion, is in violation of these Terms.

If you have any questions regarding the above Terms, please contact Respondus by email at or by writing
to: Respondus, Inc., Attn: Legal – Privacy Team, 8201 164th Ave NE, Suite 200
Redmond, WA 98052 USA, Via email: privacy@Respondus.com.

            d. USER CONDUCT. You promise NOT to use Respondus Monitor for any of the following
purposes or activities:

               i. conducting or supporting illegal activity of any type whatsoever;
              ii. transmitting or storing worms or viruses or any code of a destructive nature;
             iii. threatening, harassing, abusing, impersonating, injuring or intimidating others;
             iv. engaging in vulgar, invasive, or hateful conduct, or conduct that invades another’s privacy;


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 35 of 67 PageID #:82



              v. interfering with others’ use of Respondus Monitor, unless such interference is for the
 purpose of complying with another section of these Terms;
             vi. delivering spam or collecting information to deliver spam, or sending unsolicited
 advertisements;
            vii. decompiling, disassembling, reverse engineering or otherwise attempting to discover any
 source code contained in Respondus Monitor;
           viii. disguising the origin of any content transmitted through Respondus Monitor or
 manipulating your presence on Respondus Monitor; and/or
             ix. causing the launch of any automated system(s) that access Respondus Monitor in a manner
 that sends more request messages to servers of Respondus in a given period of time than a human can
 reasonably produce in the same period by using a conventional on-line web browser.

             e. RESPONDUS USERNAME/ID AND PASSWORD POLICY. You must guard the access
credentials (e.g., user name and password) that you use to access your Institution’s learning system to help
ensure your own privacy and security with respect to recordings you initiate using Respondus Monitor, and
not share those credentials with others.

              f. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
You agree that Respondus is not responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus by users. You also understand that Respondus does not, and has
no obligation to, monitor, pre-screen nor pre-approve information or data, but that Respondus shall
nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or move any
information or data that is available via Respondus Monitor, for any reason, including a violation of any of
these Terms (however, if Respondus elects to, for any reason, refuse, delete or move any recording of
student activity for violation of these Terms, Respondus may save a copy of such recording for access by
the Institution).

             g. LICENSE PROVIDED TO RESPONDUS. Respondus Monitor will save all recordings of
students for a period of one (1) year. Institutions have the ability to retain the data for up to an additional
four (4) years. Notwithstanding the foregoing, as explained above, the template of facial features is not
saved to the cloud server’s database or storage and is cleared from the server’s memory by Respondus
Monitor after the processing is complete. Respondus does not claim ownership in the information or data
Institution or any students provide; however, by providing information or data to Respondus, you grant
Respondus, and its affiliates, a fully paid-up, perpetual license to use, store, modify, copy, and transmit any
such information or data for the purpose of carrying out the Respondus Monitor Services in accordance
with these Terms.

              h. CHANGES. Except as provided in the Arbitration Agreement below, Respondus reserves
the right to change these Terms at any time, at its discretion, without advance notice to you, but by posting
the new version of these Terms within the Respondus Monitor Software. Respondus also reserves the right
to terminate Respondus Monitor at any time after the end of your current license, without notice; however,
if your license is a free license, Respondus reserves the right to terminate your license at any time without
notice. If your Institution terminates use of Respondus Monitor during your current license, such that you
no longer require use of Respondus Monitor, no refunds will be due or available.

            i. WARRANTIES YOU PROVIDE. You warrant and represent during the term of this
agreement to Respondus that you are not infringing the intellectual property rights of others whenever you
provide information or data on or through Respondus Monitor. You also agree that Respondus is not



RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 36 of 67 PageID #:83



responsible for protecting any intellectual property rights you, or another party, may assert in any
information or data you provide to Respondus Monitor.

            j. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy at
some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and Respondus makes no representations regarding how it will
affect your relevant course or resulting grade. As such, we encourage you to speak with your instructor
before opting out. Additionally, you cannot opt-out of the Arbitration Agreement if you elect to use
Respondus Monitor. Respondus also cannot opt-out of the Arbitration Agreement.

            k. DISCLAIMERS. Respondus disclaims responsibility or liability for the accuracy, content,
completeness, legality, reliability, operability or availability of information or data in Respondus Monitor.
Respondus further disclaims any responsibility for the deletion, failure to store, mis-delivery, or untimely
delivery of any information or data. Respondus disclaims any responsibility for any harm resulting from
downloading or accessing any information or data through Respondus Monitor. You will bear all risk
associated with any information or data you access. Your access or use of any information or data provided
by Respondus Monitor or third parties in connection with Respondus Monitor is conditioned on your
agreement to these Terms including these disclaimer provisions.

RESPONDUS MONITOR IS PROVIDED TO YOU, “AS IS,” WITH NO WARRANTIES
WHATSOEVER. ALL EXPRESS, IMPLIED, AND STATUTORY WARRANTIES, INCLUDING,
WITHOUT LIMITATION, THE WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, AND NON-INFRINGEMENT, ARE EXPRESSLY DISCLAIMED. TO THE
FULLEST EXTENT PERMITTED BY LAW, RESPONDUS DISCLAIMS ANY WARRANTIES FOR
THE SECURITY, RELIABILITY, TIMELINESS, AND PERFORMANCE OF RESPONDUS
MONITOR. RESPONDUS SIMILARLY DISCLAIMS, TO THE FULLEST EXTENT PERMITTED BY
LAW, ANY WARRANTIES FOR ANY INFORMATION OR ADVICE OBTAINED THROUGH
RESPONDUS MONITOR.

YOU UNDERSTAND AND AGREE THAT ANY INFORMATION OR DATA DOWNLOADED OR
OTHERWISE OBTAINED THROUGH THE USE OF RESPONDUS MONITOR IS OBTAINED AT
YOUR OWN DISCRETION AND RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR
ANY DAMAGES TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT MAY RESULT IN
THE DOWNLOAD OF SUCH INFORMATION OR DATA. UNDER NO CIRCUMSTANCES SHALL
RESPONDUS BE LIABLE TO ANY USER ON ACCOUNT OF THAT USER’S USE OR MISUSE OF
AND RELIANCE ON RESPONDUS MONITOR. SUCH LIMITATION OF LIABILITY SHALL APPLY
TO PREVENT RECOVERY OF DIRECT, INDIRECT, INCIDENTAL, CONSEQUENTIAL, SPECIAL,
EXEMPLARY, AND PUNITIVE DAMAGES (EVEN IF RESPONDUS HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES). SUCH LIMITATION OF LIABILITY SHALL APPLY
WHETHER THE DAMAGES ARISE FROM USE OR MISUSE OF AND RELIANCE ON RESPONDUS
MONITOR, FROM INABILITY TO USE THE RESPONDUS MONITOR, OR FROM THE
INTERRUPTION, SUSPENSION, OR TERMINATION OF RESPONDUS MONITOR OR BY REASON
OF ANY INFORMATION OR ADVICE RECEIVED THROUGH RESPONDUS MONITOR. THE
FOREGOING    DISCLAIMERS,    WAIVERS   AND     LIMITATIONS   SHALL    APPLY
NOTWITHSTANDING ANY FAILURE OF ESSENTIAL PURPOSE OF ANY LIMITED REMEDY.

            l. INTELLECTUAL PROPERTY. All web design, text, graphics, the selection and
arrangement thereof, and all software compilations, underlying source code, software and all other material
on Respondus Monitor are either the copyright or trademark of Respondus, or covered by other intellectual
property rights of Respondus or a third party licensor of Respondus. Any use of Respondus Monitor beyond



RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 37 of 67 PageID #:84



the purpose indicated above is strictly prohibited. You shall not acquire any rights in Respondus’
intellectual property by using Respondus Monitor.

              m. MISCELLANEOUS. Except as otherwise specified in these Terms, all legal issues arising
from or related to the use of Respondus Monitor between you and Respondus shall be construed in
accordance with the laws of the State of Washington, without regard to conflicts of law principles.
Respondus may terminate your use of Respondus Monitor if you violate these Terms, and will terminate
your use if you use Respondus Monitor to repeatedly infringe on the intellectual property rights of others.
These Terms constitute the entire agreement between the parties with respect to the subject matter contained
herein and supersede any other agreements between Respondus and you regarding Respondus Monitor. If
Respondus should fail to enforce any right or provision in these Terms, this failure shall not constitute a
waiver of such right or provision or of any other rights or provisions in these Terms. If a court should find
that one or more rights or provisions set forth in these Terms are invalid, you agree that the remainder of
the right or provisions shall be enforceable and that, to the extent permitted by law, the court shall give
effect to the parties’ intentions, as reflected in any such right or provision that has been declared invalid or
unenforceable. If you do not agree to the Terms, you will not be permitted to use this Service. Any term
that would naturally survive termination of these Terms shall survive, such as, for example, the
DISCLAIMERS, WARRANTIES YOU PROVIDE, and this MISCELLANEOUS section.

    3. DISPUTES, GOVERNING LAW, VENUE and JURISDICTION

By using Respondus Monitor, you agree that these Terms shall be governed by the laws of the State of
Washington USA without regard to its conflict of law provisions.

For any cause of action initiated against Respondus relating to these Terms, you and Respondus agree to
submit to the exclusive and personal jurisdiction of the court system for Redmond, Washington USA.

    4. ARBITRATION

Respondus operates in interstate commerce and this Arbitration Agreement is a contract evidencing a
transaction involving commerce that is governed by the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1 et
seq. This Agreement contains the rules and procedures that you must follow to resolve any disputes
between you and Respondus—please read it carefully. It contains procedures for MANDATORY
BINDING ARBITRATION AND A CLASS ACTION WAIVER. You agree that, by agreeing to these
Terms of Use, the U.S. Federal Arbitration Act governs the interpretation and enforcement of this provision,
and that you and Respondus are each waiving the right to a trial by jury or to participate in a class action.

Scope of Arbitration Agreement. You acknowledge and agree that any dispute or claim relating in any
way to your access or use of Respondus Monitor or to any other aspect of your relationship with Respondus
will be resolved by binding arbitration, rather than in court, except that (1) you may assert claims in small
claims court if your claims qualify, so long as the matter remains in such court and advances only on an
individual (non-class, non-representative) basis; and (2) you or Respondus may seek equitable relief in
court for infringement or other misuse of intellectual property rights (such as trademarks, trade dress,
domain names, trade secrets, copyrights, and patents). This Arbitration Agreement shall apply, without
limitation, to all claims that arose before this or any prior agreement. NOW OR IN THE FUTURE,
THERE MAY BE LAWSUITS AGAINST RESPONDUS ALLEGING CLASS, COLLECTIVE,
AND/OR REPRESENTATIVE CLAIMS. SUCH CLAIMS, IF SUCCESSFUL, COULD RESULT
IN SOME MONETARY RECOVERY TO YOU. THE EXISTENCE OF SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS DOES NOT MEAN THAT SUCH
LAWSUITS WILL ULTIMATELY SUCCEED. BUT IF YOU AGREE TO ARBITRATION WITH
RESPONDUS, YOU ARE AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 38 of 67 PageID #:85



OR SEEK TO RECOVER MONETARY OR OTHER RELIEF UNDER SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS. INSTEAD, BY AGREEING TO
ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST RESPONDUS IN AN
INDIVIDUAL ARBITRATION PROCEEDING. IF SUCCESSFUL ON SUCH CLAIMS, YOU
COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.

Arbitration Rules and Forum. This Arbitration Agreement is governed by the Federal Arbitration Act in
all respects. To begin an arbitration proceeding, you must send a letter requesting arbitration and describing
your claim to our registered agent, C T Corporation System, 711 Capitol Way South, Suite 204, Olympia,
Washington 98501. The arbitration will be conducted by the American Arbitration Association (“AAA”)
under its rules, including the AAA’s Supplementary Procedures for Consumer-Related Disputes. The
AAA’s rules are available at www.adr.org or by calling the AAA at 1-800-778-7879. Payment of all filing,
administration, and arbitration fees will be governed by the AAA’s rules. We will reimburse those fees for
claims totaling less than $10,000 unless the arbitrator determines the claims are frivolous. Likewise,
Respondus will not seek attorneys’ fees and costs in arbitration unless the arbitrator determines the claims
are frivolous. If the AAA is not available to arbitrate, the parties will select an alternative arbitral forum.

Arbitrator Powers. The arbitrator, and not any federal, state, or local court or agency, shall have exclusive
authority to resolve any dispute relating to the interpretation, applicability, enforceability or formation of
this Arbitration Agreement including, but not limited to any claim that all or any part of this Arbitration
Agreement is void or voidable. The arbitration will decide the rights and liabilities, if any, of you and
Respondus. The dispute will not be consolidated with any other matters or joined with any other cases or
parties. The arbitrator will have the authority to grant motions dispositive of all or part of any claim or
dispute. The arbitrator will have the authority to award monetary damages and to grant any non-monetary
remedy or relief available to an individual under applicable law, the arbitral forum’s rules, and these Terms.
The arbitrator will issue a written award and statement of decision describing the essential findings and
conclusions on which the award is based, including the calculation of any damages awarded. The arbitrator
has the same authority to award relief on an individual basis that a judge in a court of law would have. The
award of the arbitrator is final and binding on you and Respondus.

Waiver of Jury Trial. YOU AND RESPONDUS EACH KNOWINGLY AND VOLUNTARILY WAIVE
ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A
JUDGE OR JURY TRIAL. You and Respondus are instead electing to have claims and disputes resolved
by arbitration. An arbitrator can award on an individual basis the same damages and relief as a court and
must follow these Terms as a court would. However, there is no judge or jury in arbitration, and court
review of an arbitration award is limited. In any litigation between you and Respondus over whether to
vacate or enforce an arbitration award, you and Respondus waive all rights to a jury trial, and elect instead
to have a judge resolve the dispute.

Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES WITHIN THE SCOPE OF
THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND
NOT ON A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE BASIS. CLAIMS OF
MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY
OR CONSOLIDATED WITH THOSE OF ANY OTHER CUSTOMER OR USER. THE ARBITRATOR
MAY NOT CONSOLIDATE PROCEEDINGS ON MORE THAN ONE PERSON’S OR ENTITY’S
CLAIMS, AND MAY NOT OTHERWISE AUTHORIZE OR PRESIDE OVER ANY FORM OF A
CLASS, COLLECTIVE, REPRESENTATIVE OR AGGREGATE PROCEEDING. Claims of two or
more persons or entities may not be joined or consolidated in the same arbitration because the arbitrator
may only hear your individual claims and does not have the authority to hear claims on a class, collective,
representative, or aggregate basis, or to award relief to anyone other than you and/or Respondus in a single
arbitration. If any provision of this paragraph is determined to be unenforceable with respect to any claim


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 39 of 67 PageID #:86



or any particular remedy for a claim, then that claim or particular remedy (and only that claim or remedy)
must remain in court and be severed from any arbitration.

Exclusive Venue. To the extent the parties are permitted under these Terms to initiate litigation in a court,
both you and Respondus agree that all claims and disputes arising out of or relating to the Agreement will
be litigated exclusively in the state or federal court system for Redmond, Washington USA.

YOU SHOULD READ THE PROVISIONS OF THIS AGREEMENT CAREFULLY, AS IT
PROVIDES THAT VIRTUALLY ANY DISPUTE RELATED TO RESPONDUS MAY BE
RESOLVED ONLY THROUGH BINDING ARBITRATION. ARBITRATION REPLACES THE
RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A JURY TRIAL AND THE RIGHT
TO PARTICIPATE IN A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE
ACTION OR SIMILAR PROCEEDING.

YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED AND READ OR HAVE HAD THE
OPPORTUNITY TO READ THIS ARBITRATION AGREEMENT. YOU UNDERSTAND THAT
THIS ARBITRATION AGREEMENT REQUIRES THAT DISPUTES THAT INVOLVE THE
MATTERS SUBJECT TO THE AGREEMENT BE SUBMITTED TO ARBITRATION
PURSUANT TO THE ARBITRATION AGREEMENT RATHER THAN TO A JUDGE AND JURY
IN COURT.

YOU AGREE THAT YOU INTEND TO BE BOUND BY THE AGREEMENT AND
SPECIFICALLY THE ARBITRATION PROVISIONS SET FORTH ABOVE.

    5. RESPONDUS HELP CENTER TERMS OF USE (“HELP CENTER TERMS”)

Accepting the Terms

In order to use the Help Services, you must first agree to the terms (“Help Center Terms”) as outlined
herein. You may not use the Help Services if you do not accept the Help Center Terms. You can accept the
Help Center Terms by: (A) clicking to accept or agree to the Help Center Terms, where this option is made
available to you by Respondus in the user interface of the Help Services or other Respondus services; or
(B) by otherwise using the Help Services. In any case, you understand and agree that Respondus will treat
your use of the Help Services as acceptance of the Help Center Terms.

Data Collection

Respondus collects data to operate effectively and to strive to provide you with the best experience with
LockDown Browser and Respondus Monitor. You provide some of this data directly, such as when you
contact us for support. Some data is obtained by recording how you interact with LockDown Browser and
Respondus Monitor by, for example, receiving error reports or usage data from software running on your
device. The data we collect depends on the features you use within the Help Services, and includes the
following:

Webcam & Microphone Check. The webcam and microphone check streams video and audio from your
webcam to the Respondus servers. The video and audio can then be played back by you to ensure the
webcam and microphone are working properly. The video and audio recorded during the webcam and
microphone check is stored in temporary cache on the Respondus server and is automatically deleted in
about an hour. Persistent storage is not used for these recordings, and Respondus does not provide a way to
electronically identify the recordings as being transmitted from a specific user.




RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 40 of 67 PageID #:87



System Check. The System Check gathers certain information from your computing device, the
networking environment, the institution’s Learning Management System, and the Respondus Monitor
server itself.

All data gathered during the System Check is presented to you on your screen, including a unique System
Check ID. The System Check does NOT contain username, user ID, or the password used to access the
institution’s Learning Management System.

You have the option to send System Check results by email, and if so, you must enter an email address for
the recipient of the email message. If the System Check results are sent by email, log files from software of
LockDown Browser are additionally transmitted to a Respondus server. Log files contain details of the
interaction between the LockDown Browser and/or Respondus Monitor and your institution’s Learning
Management System, from the time you log into the Learning Management System using LockDown
Browser and Respondus Monitor until the session is exited or terminated. Log files are stored locally on
your computer in an encrypted format and, if transmitted to Respondus, are sent in encrypted format over
HTTPS. Log files do NOT contain user name, user ID, or the password used to access the institution’s
Learning Management System.

System Check data and log files may be sent to a Respondus web server or a third party cloud server for
storage and further processing by Respondus. Respondus may use System Check data and log files to assist
you with a technical issue. Respondus may also aggregate and analyze the System Check data to, for
example, improve the Software or its technical support services. System Check data and log files aren’t
sold, distributed, or made available to affiliate or third party businesses. Report An Issue. The Report An
Issue feature enables you to provide feedback to Respondus about LockDown Browser and Respondus
Monitor. System Check data and log files, as described above, are collected by Respondus during this
process. You are informed of this transfer of data each time the Report An Issue feature is used. You may
choose, but you are not required, to provide an email address and contact information when using this
feature. System Check data, log files, contact information, and feedback you provide may be sent to a
Respondus web server or third party cloud server for storage and further processing by Respondus. No data
transmitted to Respondus from the Report An Issue feature will be sold, distributed, or made available to
affiliate or third party businesses.

Knowledge Base. A link to a knowledge base is included with the Help Services. No individual data is
collected by Respondus during the use of the knowledge base, although Respondus may analyze aggregated
usage data of the knowledge base to improve the service.

Technical Support. The Help Services contains a link that enables users to open a support ticket with
Respondus. The System Check ID for the most recent System Check is automatically populated in the form
used to create a support ticket. You must additionally enter your name and a valid email address through
which communication with the Respondus support team will occur. Throughout the support process, you
may, at your own discretion, provide personally identifiable information that will be used by the Respondus
support team to analyze the issue and communicate with you. All communication between you and the
Respondus team is stored on a Respondus web server, and may be used by Respondus to improve
LockDown Browser and/or Respondus Monitor.

Express Incorporation. All conditions set forth in these Respondus Monitor Terms, including the
RESPONDUS PRIVACY POLICY at www.respondus.com/privacy, and the sections PRIVACY &
SECURITY POLICY, USER CONDUCT, RESPONDUS USERNAME/ID AND PASSWORD POLICY,
ACTIVITY GENERAL, CHANGES, WARRANTIES YOU PROVIDE, OPT-OUT, DISCLAIMERS,
INTELLECTUAL PROPERTY, and MISCELLANEOUS are expressly included in these Help Center
Terms to the extent applicable. Respondus will not use data collected via the Help Services in any way that


RMS 012121
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 41 of 67 PageID #:88



conflicts with the Respondus Monitor Terms of Use. You also expressly agree not to use the Help Services
in any way that conflicts with any of the Respondus Monitor Terms of Use, including, for example, the
prohibitions set forth in the USER CONDUCT section. Respondus cannot make representations regarding
the security of information you transmit through a third party email service provider while using the Help
Services; however, to the extent Respondus stores any such information, the storage of such information
by Respondus will be compliant with the PRIVACY & SECURITY POLICY and the RESPONDUS
PRIVACY POLICY at www.respondus.com/privacy.




RMS 012121
Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 42 of 67 PageID #:89




               EXHIBIT C
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 43 of 67 PageID #:90



                                        RESPONDUS MONITOR


                                       STUDENT TERMS OF USE


Last Updated: March 16, 2021

These Terms of Use (“Terms”), which incorporate the Respondus Help Center Terms of Use (“Help Center
Terms”) included at the end of these Terms, are an agreement between you and Respondus, Inc.
(“Respondus”), and between you and your learning institution, or your school (your “Institution”),
regarding your use of Respondus Monitor®. By using Respondus Monitor, you agree to these Terms in full
and that you are age 14 or older, or age 16 or older in the EEA, and if under the age of 18 and located in
the United States of America, such Terms have been agreed to by your parent or guardian.

Respondus Monitor is a cloud-based service (“Respondus Monitor Services”) and software (“Respondus
Monitor Software”) (also collectively referred to in these Terms as “Respondus Monitor”), that work
together to provide an online interactive database of video, audio, and other data captured during student
testing or assessment sessions for your Institution’s use in monitoring student participation in such sessions.
The purpose of such monitoring is for your Institution to be confident that the identified individuals /
students are those permitted to participate in the testing or assessment sessions, and to deter inappropriate
behavior that might impact the integrity of the assessment process.

The Respondus Help Center includes software functions as a part of the Respondus Monitor Services (“Help
Services”) provided by Respondus that enable users of LockDown Browser (another software solution
provided by Respondus) and Respondus Monitor to troubleshoot technical issues. The Help Services may
include, for example, a webcam check, system check, the ability to report an issue to Respondus, and links
to knowledge base materials and technical support.

NOTE: THESE TERMS CONTAIN AN ARBITRATION AND CLASS ACTION WAIVER PROVISION
IN THE “ARBITRATION” SECTION BELOW THAT AFFECTS YOUR RIGHTS UNDER THESE
TERMS AND WITH RESPECT TO ANY DISPUTE BETWEEN YOU AND RESPONDUS OR OUR
AFFILIATES. BY USING RESPONDUS MONITOR, YOU ACKNOWLEDGE THAT YOU HAVE
READ AND REVIEWED THESE TERMS IN THEIR ENTIRETY, YOU AGREE TO THESE TERMS,
AND THESE TERMS CONSTITUTE BINDING AND ENFORCEABLE OBLIGATIONS ON YOU.

    1. REQUIREMENTS OF YOUR INSTITUTION

Your Institution is requiring its students to use Respondus Monitor for certain, or all, courses. In order to
use Respondus Monitor, you must agree to these Terms in full.

             a. HOW “RESPONDUS MONITOR” WILL BE USED. The use of Respondus Monitor will
require individual student activity to be recorded, both audibly and visually, during certain assessment
sessions. Other data related to individual student activity during assessment sessions may also be recorded
by Respondus Monitor, such as, for example, without limitation, time taken by a student to answer specific
inquiries on an assessment. The recordings are controlled by your Institution and will be processed by an
agent of your Institution, namely, Respondus, through its Respondus Monitor Services. Respondus Monitor
may analyze the recordings through automated processes to generate additional data derived from the
recordings, with the additional data being associated with individual students for use by your Institution in
evaluating the recordings. This additional information includes the creation of a temporary template of
facial features during automated processing, and such template is used by the server executing the
Respondus Monitor software to determine whether the student who started the exam differs from the person


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 44 of 67 PageID #:91



in the video frame throughout the duration of the exam. The template is not saved to the cloud server’s
database or storage and is cleared from the server’s memory by Respondus Monitor after the processing is
complete, which occurs no later than two (2) days after the completion of the exam. The additional data, as
well as the original recordings, may be evaluated by agents of your Institution, including your instructors,
to review, assess, and analyze student performance and conduct, among other things, for the purpose of
improving educational processes for students, including investigating student conduct violations. Your
Institution works with Respondus to help ensure your privacy regarding the recordings and to comply with
applicable laws and regulations as to any information or data (including any of the video or audio
recordings). See the sections below “PRIVACY” and “PRIVACY AND SECURITY POLICY”. The
complete Respondus Privacy Policy is available at www.respondus.com/privacy, and we recommend that
you review it carefully.

             b. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
Neither Respondus nor your Institution is responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus Monitor by users. You also understand that your Institution does
not, and has no obligation to, monitor, pre-screen nor pre-approve information or data, but that your
Institution shall nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or
move any information or data that is available via Respondus Monitor, for any reason, including a violation
of any of these Terms.

             c. WARRANTIES YOU PROVIDE TO YOUR INSTITUTION. You warrant and represent
to your Institution that you are not infringing the intellectual property rights of others whenever you provide
information or data on or through Respondus Monitor. You also agree that your Institution is not responsible
for protecting any intellectual property rights you, or another party, may assert in any information or data
you provide to Respondus Monitor.

              d. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy below
at some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and your Institution makes no representations regarding how
it will affect your relevant course or any ramifications from opt-out (e.g., you may not be able to complete
the requirements of such course). As such, we encourage you to speak with your instructor before opting
out.

             e. DISCLAIMERS. Your Institution disclaims responsibility or liability for the accuracy,
content, completeness, legality, reliability, operability or availability of information or data in the
Respondus Monitor Service or Software. Your Institution further disclaims any responsibility for the
deletion, failure to store, mis-delivery, or untimely delivery of any information or data. Your Institution
disclaims any responsibility for any harm resulting from downloading or accessing any information or data
through Respondus Monitor. You will bear all risk associated with any information or data you access.
Your access or use of any information or data provided by Respondus Monitor or third parties is conditioned
on your agreement to these Terms including these disclaimer provisions. Further disclaimers applicable to
your relationship with your Institution, as well as with Respondus, are set forth below in the DISCLAIMER
section under REQUIREMENTS OF RESPONDUS AND LICENSE PROVIDED BY RESPONDUS.

             f. PRIVACY. The section below entitled PRIVACY & SECURITY POLICY, in conjunction
with the full Respondus Privacy Policy available at www.respondus.com/privacy, shall govern the privacy
policy with respect to Respondus Monitor. You agree with all reservations of right(s), disclaimers of
liability, promises, and acknowledgements governing your relationship with Respondus under the
PRIVACY & SECURITY POLICY and the full Respondus Privacy Policy available at


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 45 of 67 PageID #:92



www.respondus.com/privacy. As controller of the data, your Institution reserves the right at all times to
disclose any information or data (including recordings and any content to the extent applicable) pertaining
to you or any other user, as necessary, to comply with the law, a regulation or a governmental request.

             g. MISCELLANEOUS. All legal issues arising from or related to the use of Respondus
Monitor between you and your Institution shall be construed in accordance with the laws of the state in
which your Institution resides, or if your Institution resides in more than one state, the state in which you
attend your Institution, or the state in which the branch of your Institution resides with which you
correspond. By using Respondus Monitor and thus agreeing to these Terms, you consent to personal
jurisdiction and venue in the state and federal courts located in and serving the county in which your
Institution resides, or if your Institution resides in more than one county, the county in which you attend
your Institution, or the county in which the branch of your Institution resides with which you correspond.
Your Institution may terminate your use of Respondus Monitor if you violate these Terms, and will
terminate your use if you use Respondus Monitor to infringe on the intellectual property rights of others. If
your Institution should fail to enforce any right or provision in these Terms, this failure shall not constitute
a waiver of such right or provision or of any other rights or provisions in these Terms. If a court or trier of
fact should find that one or more rights or provisions set forth in these Terms are invalid, you agree that the
remainder of the right or provisions shall be enforceable and that, to the extent permitted by law, the court
shall give effect to the parties’ intentions, as reflected in any such right or provision that has been declared
invalid or unenforceable. If you do not agree to the Terms, you will not be permitted to use Respondus
Monitor. Any term that would naturally survive termination of these Terms shall survive, such as, for
example, the disclaimers, limitations on liabilities, and any warranties you provide herein, and this
miscellaneous section.

             h. Your Institution may terminate your access to Respondus Monitor at any time, if there is a
violation of these Terms.

    2. LICENSE REQUIREMENTS PROVIDED BY RESPONDUS

To the extent any terms below conflict with any terms under the REQUIREMENTS OF YOUR
INSTITUTION above, the terms above shall govern with respect to your relationship with your Institution
and the terms below shall govern with respect to your relationship with Respondus.

In addition, you acknowledge and understand that certain actions set forth in these Terms, which may be
taken by Respondus (as outlined below), shall be taken at the direction of your Institution with Respondus
acting as an agent of your Institution.

              a. LICENSE GRANT AND ONLINE USE. If you accept these Terms and pay the required
license fees to Respondus (if required by your Institution or Respondus, at its discretion, as set forth below
in the Section entitled FEES), you are granted a limited, non-exclusive, non-transferable, non-assignable
license to use Respondus Monitor subject to the conditions of these Terms. You may not modify, distribute,
sell, or sublicense any part of Respondus Monitor. You may not reverse engineer or attempt to extract the
source code of Respondus Monitor, unless laws prohibit those restrictions or you have written permission
from Respondus. Respondus Monitor is licensed to you, not sold or transferred to you. You agree that you
may not use Respondus Monitor in any way that conflicts with or violates these Terms or other agreements
between you and any third-party, including that of your Institution’s learning management system (“LMS”)
through which you are accessing the Respondus Monitor Services.

           b. FEES. The license grant to use Respondus Monitor is separate from the license grant to use
Respondus’ LockDown Browser solution. If you are initiating Respondus Monitor for demonstration
purposes only, you will not be charged. Also, Respondus may grant you a temporary license free-of-charge


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 46 of 67 PageID #:93



to use Respondus Monitor, at its sole discretion (such as, for example, for beta testing or pilot program
purposes), but such free license grant may be terminated at any time by Respondus at its sole discretion.

            c. PRIVACY & SECURITY POLICY. Respondus cares about your privacy and the security
of your personal data. The Respondus Privacy Policy is available at www.respondus.com/privacy, and we
recommend that you review it carefully. The information below summarizes important aspects of the
security used with Respondus Monitor and how we process your personal data.

Respondus Monitor uses the following methods to limit access to personal information or data (e.g., student
recordings or other personal information):

       Respondus Monitor uses industry standard SSL (Secure Socket Lay) or TLS (Transport Layer
        Security) encryption to transfer information.
       Student identifiable information including name, grade, course name, and photos that show
        identification cards can only be accessed through the learning management system’s (LMS’s)
        extension architecture (e.g., LTI, Blackboard Building Block).
        Only users with instructor credentials for the LMS course (e.g., instructors, teaching assistants,
        LMS administrators) are able to view video sessions in conjunction with student identifiable
        information.


Video URLs are “one-time use” and will not function if copied. Respondus uses independent, third-party
security firms to perform penetration testing and other vulnerability scans of the Respondus Monitor
system. This includes a review of the Respondus Monitor architecture and the testing for vulnerabilities
and exploits. Unfortunately, no data transmission over the Internet is 100% secure, and Respondus does not
warrant nor guarantee the security of any information collected using its services. By agreeing to these
Terms, you agree to use Respondus Monitor at your own risk, and agree that Respondus shall not be liable
if a security breach occurs, if the site malfunctions, or if information is misused or mismanaged in any way
to your detriment or the detriment of a student or third party, whether by Respondus, your institution, or an
unauthorized third party.

The use of Respondus Monitor will require individual student activity to be recorded, both audibly and
visually, during certain assessment sessions. Other data related to individual student activity during
assessment sessions may also be recorded by Respondus Monitor, such as, for example, without limitation,
time taken by a student to answer specific inquiries on an assessment. The recordings are controlled by your
Institution and will be processed by an agent of your Institution, namely, Respondus, through its Respondus
Monitor Services. Respondus Monitor may analyze the recordings through automated processes to generate
additional data derived from the recordings, with the additional data being associated with individual
students for use by your Institution in evaluating the recordings. This additional information includes the
creation of a temporary template of facial identifiers during automated processing, and such template is
used in the temporary memory of the server executing the Respondus Monitor software to determine
whether the student who started the exam differs from the person currently in the video frame being
processed by the Respondus Monitor Service. The template is not saved to the cloud server’s database or
storage and is cleared from the server’s memory by Respondus Monitor after the processing is complete,
which occurs no later than two (2) days after the completion of the exam. The additional data, as well as
the original recordings, may be evaluated by agents of your Institution, including your instructors, to review,
assess, and analyze student performance and conduct, and investigate alleged student conduct violations.
Your Institution works with Respondus to help ensure your privacy regarding the recordings and to comply
with applicable laws and regulations as to any information or data (including any of the video or audio
recordings). Respondus personnel do not review/analyze the recordings except as may be required to



RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 47 of 67 PageID #:94



resolve technical problems, improve system performance, modify Respondus Monitor, investigate
violations of these Terms, or as may be directed by your Institution or applicable law enforcement.

Each student that is recorded will have a unique username or identification code (“ID”) and password
through your Institution’s (or its learning institution’s) LMS or learning system. The ID and password will
be usable by students, at the discretion of your Institution, to allow students to transmit recordings and data
to the online component of Respondus Monitor if required by your Institution as part of an assessment
activity. Instructors, administrators and other agents of your Institution, may access those recordings and
data related to their students through Respondus Monitor. You must guard your password and not share it
with anyone to help ensure your security and privacy of your data.

Random samples of video and/or audio recordings may be collected via Respondus Monitor and used by
Respondus to improve the Respondus Monitor capabilities for institutions and students. The recordings
may be shared with researchers under contract with Respondus to assist in such research. The researchers
are consultants or contractors to Respondus and are under written obligation to maintain the video and/or
audio recordings in confidence and under terms at least as strict as these Terms. The written agreements
with the researchers also expressly limit their access and use of the data to work being done for Respondus
and the researchers do not have the right to use the data for any other purposes. No personally identifiable
information for students is provided with the video and/or audio recordings to researchers, such as the
student’s name, course name, institution, grades, or student identification photos submitted as part of the
Respondus Monitor exam session. Other than the purposes identified above, Respondus will not share
recordings or personally identifying information of any particular student (collectively, also referred to
herein as “personal information or data”) with third parties (third parties do not include the student who
provided the personal information, the parent/guardian of a student under the age of 18 who provided
personal information, or the institution who authorized access by the student to Respondus Monitor
Services) unless specifically required by Institution. For example, if Institution uses third parties to manage
student personal information (e.g., Institution agents), the Institution may direct Respondus to share the
personal information with that third party under the Institution’s direction and control.

If, in the future, Respondus, or substantially all of its assets are acquired, the maintenance of all collected
personal information or data (including any recordings) may be transferred to the acquiring party, provided
that the acquiring party implement a privacy and security policy at least as restrictive as this one, or
otherwise compliant with current legal standards, and provided that the collected personal information and
data remain under the control of your Institution.

Respondus reserves the right at all times to disclose any information or data (including recordings and any
content to the extent applicable) stored by you, your Institution, or any other user as necessary, to comply
with the law, a regulation or a governmental request, or to edit or delete any information or data, in whole
or in part, that in Respondus’ sole discretion, is in violation of these Terms.

If you have any questions regarding the above Terms, please contact Respondus by email at or by writing
to: Respondus, Inc., Attn: Legal – Privacy Team, 8201 164th Ave NE, Suite 200
Redmond, WA 98052 USA, Via email: privacy@Respondus.com.

            d. USER CONDUCT. You promise NOT to use Respondus Monitor for any of the following
purposes or activities:

               i. conducting or supporting illegal activity of any type whatsoever;
              ii. transmitting or storing worms or viruses or any code of a destructive nature;
             iii. threatening, harassing, abusing, impersonating, injuring or intimidating others;
             iv. engaging in vulgar, invasive, or hateful conduct, or conduct that invades another’s privacy;


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 48 of 67 PageID #:95



              v. interfering with others’ use of Respondus Monitor, unless such interference is for the
 purpose of complying with another section of these Terms;
             vi. delivering spam or collecting information to deliver spam, or sending unsolicited
 advertisements;
            vii. decompiling, disassembling, reverse engineering or otherwise attempting to discover any
 source code contained in Respondus Monitor;
           viii. disguising the origin of any content transmitted through Respondus Monitor or
 manipulating your presence on Respondus Monitor; and/or
             ix. causing the launch of any automated system(s) that access Respondus Monitor in a manner
 that sends more request messages to servers of Respondus in a given period of time than a human can
 reasonably produce in the same period by using a conventional on-line web browser.

             e. RESPONDUS USERNAME/ID AND PASSWORD POLICY. You must guard the access
credentials (e.g., user name and password) that you use to access your Institution’s learning system to help
ensure your own privacy and security with respect to recordings you initiate using Respondus Monitor, and
not share those credentials with others.

              f. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
You agree that Respondus is not responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus by users. You also understand that Respondus does not, and has
no obligation to, monitor, pre-screen nor pre-approve information or data, but that Respondus shall
nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or move any
information or data that is available via Respondus Monitor, for any reason, including a violation of any of
these Terms (however, if Respondus elects to, for any reason, refuse, delete or move any recording of
student activity for violation of these Terms, Respondus may save a copy of such recording for access by
the Institution).

             g. LICENSE PROVIDED TO RESPONDUS. Respondus Monitor will save all recordings of
students for the period of time designated by your Institution. Institutions have the ability to select a data
retention period between thirty (30) days and five (5) years. Notwithstanding the foregoing, as explained
above, the template of facial features is not saved to the cloud server’s database or storage and is cleared
from the server’s memory by Respondus Monitor after the processing is complete. Respondus does not
claim ownership in the information or data Institution or any students provide; however, by providing
information or data to Respondus, you grant Respondus, and its affiliates, a fully paid-up, perpetual license
to use, store, modify, copy, and transmit any such information or data for the purpose of carrying out the
Respondus Monitor Services in accordance with these Terms.

              h. CHANGES. Except as provided in the Arbitration Agreement below, Respondus reserves
the right to change these Terms at any time, at its discretion, without advance notice to you, but by posting
the new version of these Terms within the Respondus Monitor Software. Respondus also reserves the right
to terminate Respondus Monitor at any time after the end of your current license, without notice; however,
if your license is a free license, Respondus reserves the right to terminate your license at any time without
notice. If your Institution terminates use of Respondus Monitor during your current license, such that you
no longer require use of Respondus Monitor, no refunds will be due or available.

            i. WARRANTIES YOU PROVIDE. You warrant and represent during the term of this
agreement to Respondus that you are not infringing the intellectual property rights of others whenever you
provide information or data on or through Respondus Monitor. You also agree that Respondus is not



RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 49 of 67 PageID #:96



responsible for protecting any intellectual property rights you, or another party, may assert in any
information or data you provide to Respondus Monitor.

            j. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy at
some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and Respondus makes no representations regarding how it will
affect your relevant course or resulting grade. As such, we encourage you to speak with your instructor
before opting out. Additionally, you cannot opt-out of the Arbitration Agreement if you elect to use
Respondus Monitor. Respondus also cannot opt-out of the Arbitration Agreement.

            k. DISCLAIMERS. Respondus disclaims responsibility or liability for the accuracy, content,
completeness, legality, reliability, operability or availability of information or data in Respondus Monitor.
Respondus further disclaims any responsibility for the deletion, failure to store, mis-delivery, or untimely
delivery of any information or data. Respondus disclaims any responsibility for any harm resulting from
downloading or accessing any information or data through Respondus Monitor. You will bear all risk
associated with any information or data you access. Your access or use of any information or data provided
by Respondus Monitor or third parties in connection with Respondus Monitor is conditioned on your
agreement to these Terms including these disclaimer provisions.

RESPONDUS MONITOR IS PROVIDED TO YOU, “AS IS,” WITH NO WARRANTIES
WHATSOEVER. ALL EXPRESS, IMPLIED, AND STATUTORY WARRANTIES, INCLUDING,
WITHOUT LIMITATION, THE WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, AND NON-INFRINGEMENT, ARE EXPRESSLY DISCLAIMED. TO THE
FULLEST EXTENT PERMITTED BY LAW, RESPONDUS DISCLAIMS ANY WARRANTIES FOR
THE SECURITY, RELIABILITY, TIMELINESS, AND PERFORMANCE OF RESPONDUS
MONITOR. RESPONDUS SIMILARLY DISCLAIMS, TO THE FULLEST EXTENT PERMITTED BY
LAW, ANY WARRANTIES FOR ANY INFORMATION OR ADVICE OBTAINED THROUGH
RESPONDUS MONITOR.

YOU UNDERSTAND AND AGREE THAT ANY INFORMATION OR DATA DOWNLOADED OR
OTHERWISE OBTAINED THROUGH THE USE OF RESPONDUS MONITOR IS OBTAINED AT
YOUR OWN DISCRETION AND RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR
ANY DAMAGES TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT MAY RESULT IN
THE DOWNLOAD OF SUCH INFORMATION OR DATA. UNDER NO CIRCUMSTANCES SHALL
RESPONDUS BE LIABLE TO ANY USER ON ACCOUNT OF THAT USER’S USE OR MISUSE OF
AND RELIANCE ON RESPONDUS MONITOR. SUCH LIMITATION OF LIABILITY SHALL APPLY
TO PREVENT RECOVERY OF DIRECT, INDIRECT, INCIDENTAL, CONSEQUENTIAL, SPECIAL,
EXEMPLARY, AND PUNITIVE DAMAGES (EVEN IF RESPONDUS HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES). SUCH LIMITATION OF LIABILITY SHALL APPLY
WHETHER THE DAMAGES ARISE FROM USE OR MISUSE OF AND RELIANCE ON RESPONDUS
MONITOR, FROM INABILITY TO USE THE RESPONDUS MONITOR, OR FROM THE
INTERRUPTION, SUSPENSION, OR TERMINATION OF RESPONDUS MONITOR OR BY REASON
OF ANY INFORMATION OR ADVICE RECEIVED THROUGH RESPONDUS MONITOR. THE
FOREGOING    DISCLAIMERS,    WAIVERS   AND     LIMITATIONS   SHALL    APPLY
NOTWITHSTANDING ANY FAILURE OF ESSENTIAL PURPOSE OF ANY LIMITED REMEDY.

            l. INTELLECTUAL PROPERTY. All web design, text, graphics, the selection and
arrangement thereof, and all software compilations, underlying source code, software and all other material
on Respondus Monitor are either the copyright or trademark of Respondus, or covered by other intellectual
property rights of Respondus or a third party licensor of Respondus. Any use of Respondus Monitor beyond



RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 50 of 67 PageID #:97



the purpose indicated above is strictly prohibited. You shall not acquire any rights in Respondus’
intellectual property by using Respondus Monitor.

              m. MISCELLANEOUS. Except as otherwise specified in these Terms, all legal issues arising
from or related to the use of Respondus Monitor between you and Respondus shall be construed in
accordance with the laws of the State of Washington, without regard to conflicts of law principles.
Respondus may terminate your use of Respondus Monitor if you violate these Terms, and will terminate
your use if you use Respondus Monitor to repeatedly infringe on the intellectual property rights of others.
These Terms constitute the entire agreement between the parties with respect to the subject matter contained
herein and supersede any other agreements between Respondus and you regarding Respondus Monitor. If
Respondus should fail to enforce any right or provision in these Terms, this failure shall not constitute a
waiver of such right or provision or of any other rights or provisions in these Terms. If a court should find
that one or more rights or provisions set forth in these Terms are invalid, you agree that the remainder of
the right or provisions shall be enforceable and that, to the extent permitted by law, the court shall give
effect to the parties’ intentions, as reflected in any such right or provision that has been declared invalid or
unenforceable. If you do not agree to the Terms, you will not be permitted to use this Service. Any term
that would naturally survive termination of these Terms shall survive, such as, for example, the
DISCLAIMERS, WARRANTIES YOU PROVIDE, and this MISCELLANEOUS section.

    3. DISPUTES, GOVERNING LAW, VENUE and JURISDICTION

By using Respondus Monitor, you agree that these Terms shall be governed by the laws of the State of
Washington USA without regard to its conflict of law provisions.

For any cause of action initiated against Respondus relating to these Terms, you and Respondus agree to
submit to the exclusive and personal jurisdiction of the court system for Redmond, Washington USA.

    4. ARBITRATION

Respondus operates in interstate commerce and this Arbitration Agreement is a contract evidencing a
transaction involving commerce that is governed by the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1 et
seq. This Agreement contains the rules and procedures that you must follow to resolve any disputes
between you and Respondus—please read it carefully. It contains procedures for MANDATORY
BINDING ARBITRATION AND A CLASS ACTION WAIVER. You agree that, by agreeing to these
Terms of Use, the U.S. Federal Arbitration Act governs the interpretation and enforcement of this provision,
and that you and Respondus are each waiving the right to a trial by jury or to participate in a class action.

Scope of Arbitration Agreement. You acknowledge and agree that any dispute or claim relating in any
way to your access or use of Respondus Monitor or to any other aspect of your relationship with Respondus
will be resolved by binding arbitration, rather than in court, except that (1) you may assert claims in small
claims court if your claims qualify, so long as the matter remains in such court and advances only on an
individual (non-class, non-representative) basis; and (2) you or Respondus may seek equitable relief in
court for infringement or other misuse of intellectual property rights (such as trademarks, trade dress,
domain names, trade secrets, copyrights, and patents). This Arbitration Agreement shall apply, without
limitation, to all claims that arose before this or any prior agreement. NOW OR IN THE FUTURE,
THERE MAY BE LAWSUITS AGAINST RESPONDUS ALLEGING CLASS, COLLECTIVE,
AND/OR REPRESENTATIVE CLAIMS. SUCH CLAIMS, IF SUCCESSFUL, COULD RESULT
IN SOME MONETARY RECOVERY TO YOU. THE EXISTENCE OF SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS DOES NOT MEAN THAT SUCH
LAWSUITS WILL ULTIMATELY SUCCEED. BUT IF YOU AGREE TO ARBITRATION WITH
RESPONDUS, YOU ARE AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 51 of 67 PageID #:98



OR SEEK TO RECOVER MONETARY OR OTHER RELIEF UNDER SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS. INSTEAD, BY AGREEING TO
ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST RESPONDUS IN AN
INDIVIDUAL ARBITRATION PROCEEDING. IF SUCCESSFUL ON SUCH CLAIMS, YOU
COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.

Arbitration Rules and Forum. This Arbitration Agreement is governed by the Federal Arbitration Act in
all respects. To begin an arbitration proceeding, you must send a letter requesting arbitration and describing
your claim to our registered agent, C T Corporation System, 711 Capitol Way South, Suite 204, Olympia,
Washington 98501 . The arbitration will be conducted by the American Arbitration Association (“AAA”)
under its rules, including the AAA’s Supplementary Procedures for Consumer-Related Disputes. The
AAA’s rules are available at www.adr.org or by calling the AAA at 1-800-778-7879. Payment of all filing,
administration, and arbitration fees will be governed by the AAA’s rules. We will reimburse those fees for
claims totaling less than $10,000 unless the arbitrator determines the claims are frivolous. Likewise,
Respondus will not seek attorneys’ fees and costs in arbitration unless the arbitrator determines the claims
are frivolous. If the AAA is not available to arbitrate, the parties will select an alternative arbitral forum.

Arbitrator Powers. The arbitrator, and not any federal, state, or local court or agency, shall have exclusive
authority to resolve any dispute relating to the interpretation, applicability, enforceability or formation of
this Arbitration Agreement including, but not limited to any claim that all or any part of this Arbitration
Agreement is void or voidable. The arbitration will decide the rights and liabilities, if any, of you and
Respondus. The dispute will not be consolidated with any other matters or joined with any other cases or
parties. The arbitrator will have the authority to grant motions dispositive of all or part of any claim or
dispute. The arbitrator will have the authority to award monetary damages and to grant any non-monetary
remedy or relief available to an individual under applicable law, the arbitral forum’s rules, and these Terms.
The arbitrator will issue a written award and statement of decision describing the essential findings and
conclusions on which the award is based, including the calculation of any damages awarded. The arbitrator
has the same authority to award relief on an individual basis that a judge in a court of law would have. The
award of the arbitrator is final and binding on you and Respondus.

Waiver of Jury Trial. YOU AND RESPONDUS EACH KNOWINGLY AND VOLUNTARILY WAIVE
ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A
JUDGE OR JURY TRIAL. You and Respondus are instead electing to have claims and disputes resolved
by arbitration. An arbitrator can award on an individual basis the same damages and relief as a court and
must follow these Terms as a court would. However, there is no judge or jury in arbitration, and court
review of an arbitration award is limited. In any litigation between you and Respondus over whether to
vacate or enforce an arbitration award, you and Respondus waive all rights to a jury trial, and elect instead
to have a judge resolve the dispute.

Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES WITHIN THE SCOPE OF
THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND
NOT ON A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE BASIS. CLAIMS OF
MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY
OR CONSOLIDATED WITH THOSE OF ANY OTHER CUSTOMER OR USER. THE ARBITRATOR
MAY NOT CONSOLIDATE PROCEEDINGS ON MORE THAN ONE PERSON’S OR ENTITY’S
CLAIMS, AND MAY NOT OTHERWISE AUTHORIZE OR PRESIDE OVER ANY FORM OF A
CLASS, COLLECTIVE, REPRESENTATIVE OR AGGREGATE PROCEEDING. Claims of two or
more persons or entities may not be joined or consolidated in the same arbitration because the arbitrator
may only hear your individual claims and does not have the authority to hear claims on a class, collective,
representative, or aggregate basis, or to award relief to anyone other than you and/or Respondus in a single
arbitration. If any provision of this paragraph is determined to be unenforceable with respect to any claim


RMS 031621
    Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 52 of 67 PageID #:99



or any particular remedy for a claim, then that claim or particular remedy (and only that claim or remedy)
must remain in court and be severed from any arbitration.

Exclusive Venue. To the extent the parties are permitted under these Terms to initiate litigation in a court,
both you and Respondus agree that all claims and disputes arising out of or relating to the Agreement will
be litigated exclusively in the state or federal court system for Redmond, Washington USA.

YOU SHOULD READ THE PROVISIONS OF THIS AGREEMENT CAREFULLY, AS IT
PROVIDES THAT VIRTUALLY ANY DISPUTE RELATED TO RESPONDUS MAY BE
RESOLVED ONLY THROUGH BINDING ARBITRATION. ARBITRATION REPLACES THE
RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A JURY TRIAL AND THE RIGHT
TO PARTICIPATE IN A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE
ACTION OR SIMILAR PROCEEDING.

YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED AND READ OR HAVE HAD THE
OPPORTUNITY TO READ THIS ARBITRATION AGREEMENT. YOU UNDERSTAND THAT
THIS ARBITRATION AGREEMENT REQUIRES THAT DISPUTES THAT INVOLVE THE
MATTERS SUBJECT TO THE AGREEMENT BE SUBMITTED TO ARBITRATION
PURSUANT TO THE ARBITRATION AGREEMENT RATHER THAN TO A JUDGE AND JURY
IN COURT.

YOU AGREE THAT YOU INTEND TO BE BOUND BY THE AGREEMENT AND
SPECIFICALLY THE ARBITRATION PROVISIONS SET FORTH ABOVE.

    5. RESPONDUS HELP CENTER TERMS OF USE (“HELP CENTER TERMS”)

Accepting the Terms

In order to use the Help Services, you must first agree to the terms (“Help Center Terms”) as outlined
herein. You may not use the Help Services if you do not accept the Help Center Terms. You can accept the
Help Center Terms by: (A) clicking to accept or agree to the Help Center Terms, where this option is made
available to you by Respondus in the user interface of the Help Services or other Respondus services; or
(B) by otherwise using the Help Services. In any case, you understand and agree that Respondus will treat
your use of the Help Services as acceptance of the Help Center Terms.

Data Collection

Respondus collects data to operate effectively and to strive to provide you with the best experience with
LockDown Browser and Respondus Monitor. You provide some of this data directly, such as when you
contact us for support. Some data is obtained by recording how you interact with LockDown Browser and
Respondus Monitor by, for example, receiving error reports or usage data from software running on your
device. The data we collect depends on the features you use within the Help Services, and includes the
following:

Webcam & Microphone Check. The webcam and microphone check streams video and audio from your
webcam to the Respondus servers. The video and audio can then be played back by you to ensure the
webcam and microphone are working properly. The video and audio recorded during the webcam and
microphone check is stored in temporary cache on the Respondus server and is automatically deleted in
about an hour. Persistent storage is not used for these recordings, and Respondus does not provide a way to
electronically identify the recordings as being transmitted from a specific user.




RMS 031621
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 53 of 67 PageID #:100



System Check. The System Check gathers certain information from your computing device, the
networking environment, the institution’s Learning Management System, and the Respondus Monitor
server itself.

All data gathered during the System Check is presented to you on your screen, including a unique System
Check ID. The System Check does NOT contain username, user ID, or the password used to access the
institution’s Learning Management System.

You have the option to send System Check results by email, and if so, you must enter an email address for
the recipient of the email message. If the System Check results are sent by email, log files from software of
LockDown Browser are additionally transmitted to a Respondus server. Log files contain details of the
interaction between the LockDown Browser and/or Respondus Monitor and your institution’s Learning
Management System, from the time you log into the Learning Management System using LockDown
Browser and Respondus Monitor until the session is exited or terminated. Log files are stored locally on
your computer in an encrypted format and, if transmitted to Respondus, are sent in encrypted format over
HTTPS. Log files do NOT contain user name, user ID, or the password used to access the institution’s
Learning Management System.

System Check data and log files may be sent to a Respondus web server or a third party cloud server for
storage and further processing by Respondus. Respondus may use System Check data and log files to assist
you with a technical issue. Respondus may also aggregate and analyze the System Check data to, for
example, improve the Software or its technical support services. System Check data and log files aren’t
sold, distributed, or made available to affiliate or third party businesses. Report An Issue. The Report An
Issue feature enables you to provide feedback to Respondus about LockDown Browser and Respondus
Monitor. System Check data and log files, as described above, are collected by Respondus during this
process. You are informed of this transfer of data each time the Report An Issue feature is used. You may
choose, but you are not required, to provide an email address and contact information when using this
feature. System Check data, log files, contact information, and feedback you provide may be sent to a
Respondus web server or third party cloud server for storage and further processing by Respondus. No data
transmitted to Respondus from the Report An Issue feature will be sold, distributed, or made available to
affiliate or third party businesses.

Knowledge Base. A link to a knowledge base is included with the Help Services. No individual data is
collected by Respondus during the use of the knowledge base, although Respondus may analyze aggregated
usage data of the knowledge base to improve the service.

Technical Support. The Help Services contains a link that enables users to open a support ticket with
Respondus. The System Check ID for the most recent System Check is automatically populated in the form
used to create a support ticket. You must additionally enter your name and a valid email address through
which communication with the Respondus support team will occur. Throughout the support process, you
may, at your own discretion, provide personally identifiable information that will be used by the Respondus
support team to analyze the issue and communicate with you. All communication between you and the
Respondus team is stored on a Respondus web server, and may be used by Respondus to improve
LockDown Browser and/or Respondus Monitor.

Express Incorporation. All conditions set forth in these Respondus Monitor Terms, including the
RESPONDUS PRIVACY POLICY at www.respondus.com/privacy, and the sections PRIVACY &
SECURITY POLICY, USER CONDUCT, RESPONDUS USERNAME/ID AND PASSWORD POLICY,
ACTIVITY GENERAL, CHANGES, WARRANTIES YOU PROVIDE, OPT-OUT, DISCLAIMERS,
INTELLECTUAL PROPERTY, and MISCELLANEOUS are expressly included in these Help Center
Terms to the extent applicable. Respondus will not use data collected via the Help Services in any way that


RMS 031621
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 54 of 67 PageID #:101



conflicts with the Respondus Monitor Terms of Use. You also expressly agree not to use the Help Services
in any way that conflicts with any of the Respondus Monitor Terms of Use, including, for example, the
prohibitions set forth in the USER CONDUCT section. Respondus cannot make representations regarding
the security of information you transmit through a third party email service provider while using the Help
Services; however, to the extent Respondus stores any such information, the storage of such information
by Respondus will be compliant with the PRIVACY & SECURITY POLICY and the RESPONDUS
PRIVACY POLICY at www.respondus.com/privacy.




RMS 031621
Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 55 of 67 PageID #:102




                EXHIBIT D
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 56 of 67 PageID #:103



                                        RESPONDUS MONITOR


                                       STUDENT TERMS OF USE


Last Updated: May 25, 2021

These Terms of Use (“Terms”), which incorporate the Respondus Help Center Terms of Use (“Help Center
Terms”) included at the end of these Terms, are an agreement between you and Respondus, Inc.
(“Respondus”), and between you and your learning institution, or your school (your “Institution”),
regarding your use of Respondus Monitor®. By using Respondus Monitor, you agree to these Terms in full
and that you are age 14 or older, or age 16 or older in the EEA, and if under the age of 18 and located in
the United States of America, such Terms have been agreed to by your parent or guardian.

Respondus Monitor is a cloud-based service (“Respondus Monitor Services”) and software (“Respondus
Monitor Software”) (also collectively referred to in these Terms as “Respondus Monitor”), that work
together to provide an online interactive database of video, audio, and other data captured during student
testing or assessment sessions for your Institution’s use in monitoring student participation in such sessions.
The purpose of such monitoring is for your Institution to be confident that the identified individuals /
students are those permitted to participate in the testing or assessment sessions, and to deter inappropriate
behavior that might impact the integrity of the assessment process.

The Respondus Help Center includes software functions as a part of the Respondus Monitor Services (“Help
Services”) provided by Respondus that enable users of LockDown Browser (another software solution
provided by Respondus) and Respondus Monitor to troubleshoot technical issues. The Help Services may
include, for example, a webcam check, system check, the ability to report an issue to Respondus, and links
to knowledge base materials and technical support.

NOTE: THESE TERMS CONTAIN AN ARBITRATION AND CLASS ACTION WAIVER PROVISION
IN THE “ARBITRATION” SECTION BELOW THAT AFFECTS YOUR RIGHTS UNDER THESE
TERMS AND WITH RESPECT TO ANY DISPUTE BETWEEN YOU AND RESPONDUS OR OUR
AFFILIATES. BY USING RESPONDUS MONITOR, YOU ACKNOWLEDGE THAT YOU HAVE
READ AND REVIEWED THESE TERMS IN THEIR ENTIRETY, YOU AGREE TO THESE TERMS,
AND THESE TERMS CONSTITUTE BINDING AND ENFORCEABLE OBLIGATIONS ON YOU.

The following Section 1. REQUIREMENTS OF YOUR INSTITUTION is controlled by your Institution
and describes the requirements and relationship between your Institution and You. It does not affect the
terms between You and Respondus.

    1. REQUIREMENTS OF YOUR INSTITUTION

Your Institution is requiring its students to use Respondus Monitor for certain, or all, courses. In order to
use Respondus Monitor, you must agree to these Terms in full.

            a. HOW “RESPONDUS MONITOR” WILL BE USED. The use of Respondus Monitor will
require individual student activity to be recorded, both audibly and visually, during certain assessment
sessions. Other data related to individual student activity during assessment sessions may also be recorded
by Respondus Monitor, such as, for example, without limitation, time taken by a student to answer specific
inquiries on an assessment. The recordings are controlled by your Institution and will be processed by an
agent of your Institution, namely, Respondus, through its Respondus Monitor Services. Respondus Monitor
may analyze the recordings through automated processes to generate additional data derived from the


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 57 of 67 PageID #:104



recordings, with the additional data being associated with individual students for use by your Institution in
evaluating the recordings. This additional information includes the creation of a temporary template of
facial features during automated processing, and such template is used by the server executing the
Respondus Monitor software to determine whether the student who started the exam differs from the person
in the video frame throughout the duration of the exam. The template is not saved to the cloud server’s
database or storage and is cleared from the server’s memory by Respondus Monitor after the processing is
complete, which occurs no later than two (2) days after the completion of the exam. The additional data, as
well as the original recordings, may be evaluated by agents of your Institution, including your instructors,
to review, assess, and analyze student performance and conduct, among other things, for the purpose of
improving educational processes for students, including investigating student conduct violations. Your
Institution works with Respondus to help ensure your privacy regarding the recordings and to comply with
applicable laws and regulations as to any information or data (including any of the video or audio
recordings). See the sections below “PRIVACY” and “PRIVACY AND SECURITY POLICY”. The
complete Respondus Privacy Policy is available at www.respondus.com/privacy, and we recommend that
you review it carefully.

             b. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
Neither Respondus nor your Institution is responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus Monitor by users. You also understand that your Institution does
not, and has no obligation to, monitor, pre-screen nor pre-approve information or data, but that your
Institution shall nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or
move any information or data that is available via Respondus Monitor, for any reason, including a violation
of any of these Terms.

             c. WARRANTIES YOU PROVIDE TO YOUR INSTITUTION. You warrant and represent
to your Institution that you are not infringing the intellectual property rights of others whenever you provide
information or data on or through Respondus Monitor. You also agree that your Institution is not responsible
for protecting any intellectual property rights you, or another party, may assert in any information or data
you provide to Respondus Monitor.

              d. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy below
at some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and your Institution makes no representations regarding how
it will affect your relevant course or any ramifications from opt-out (e.g., you may not be able to complete
the requirements of such course). As such, we encourage you to speak with your instructor before opting
out.

             e. DISCLAIMERS. Your Institution disclaims responsibility or liability for the accuracy,
content, completeness, legality, reliability, operability or availability of information or data in the
Respondus Monitor Service or Software. Your Institution further disclaims any responsibility for the
deletion, failure to store, mis-delivery, or untimely delivery of any information or data. Your Institution
disclaims any responsibility for any harm resulting from downloading or accessing any information or data
through Respondus Monitor. You will bear all risk associated with any information or data you access.
Your access or use of any information or data provided by Respondus Monitor or third parties is conditioned
on your agreement to these Terms including these disclaimer provisions. Further disclaimers applicable to
your relationship with your Institution, as well as with Respondus, are set forth below in the DISCLAIMER
section under REQUIREMENTS OF RESPONDUS AND LICENSE PROVIDED BY RESPONDUS.




RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 58 of 67 PageID #:105



             f. PRIVACY. The section below entitled PRIVACY & SECURITY POLICY, in conjunction
with the full Respondus Privacy Policy available at www.respondus.com/privacy, shall govern the privacy
policy with respect to Respondus Monitor. You agree with all reservations of right(s), disclaimers of
liability, promises, and acknowledgements governing your relationship with Respondus under the
PRIVACY & SECURITY POLICY and the full Respondus Privacy Policy available at
www.respondus.com/privacy. As controller of the data, your Institution reserves the right at all times to
disclose any information or data (including recordings and any content to the extent applicable) pertaining
to you or any other user, as necessary, to comply with the law, a regulation or a governmental request.

             g. MISCELLANEOUS. All legal issues arising from or related to the use of Respondus
Monitor between you and your Institution shall be construed in accordance with the laws of the state in
which your Institution resides, or if your Institution resides in more than one state, the state in which you
attend your Institution, or the state in which the branch of your Institution resides with which you
correspond. By using Respondus Monitor and thus agreeing to these Terms, you consent to personal
jurisdiction and venue in the state and federal courts located in and serving the county in which your
Institution resides, or if your Institution resides in more than one county, the county in which you attend
your Institution, or the county in which the branch of your Institution resides with which you correspond.
Your Institution may terminate your use of Respondus Monitor if you violate these Terms, and will
terminate your use if you use Respondus Monitor to infringe on the intellectual property rights of others. If
your Institution should fail to enforce any right or provision in these Terms, this failure shall not constitute
a waiver of such right or provision or of any other rights or provisions in these Terms. If a court or trier of
fact should find that one or more rights or provisions set forth in these Terms are invalid, you agree that the
remainder of the right or provisions shall be enforceable and that, to the extent permitted by law, the court
shall give effect to the parties’ intentions, as reflected in any such right or provision that has been declared
invalid or unenforceable. If you do not agree to the Terms, you will not be permitted to use Respondus
Monitor. Any term that would naturally survive termination of these Terms shall survive, such as, for
example, the disclaimers, limitations on liabilities, and any warranties you provide herein, and this
miscellaneous section.

             h. Your Institution may terminate your access to Respondus Monitor at any time, if there is a
violation of these Terms.

    2. LICENSE REQUIREMENTS PROVIDED BY RESPONDUS

To the extent any terms below conflict with any terms under the REQUIREMENTS OF YOUR
INSTITUTION above, the terms above shall govern with respect to your relationship with your Institution
and the terms below shall govern with respect to your relationship with Respondus.

In addition, you acknowledge and understand that certain actions set forth in these Terms, which may be
taken by Respondus (as outlined below), shall be taken at the direction of your Institution with Respondus
acting as an agent of your Institution.

              a. LICENSE GRANT AND ONLINE USE. If you accept these Terms and pay the required
license fees to Respondus (if required by your Institution or Respondus, at its discretion, as set forth below
in the Section entitled FEES), you are granted a limited, non-exclusive, non-transferable, non-assignable
license to use Respondus Monitor subject to the conditions of these Terms. You may not modify, distribute,
sell, or sublicense any part of Respondus Monitor. You may not reverse engineer or attempt to extract the
source code of Respondus Monitor, unless laws prohibit those restrictions or you have written permission
from Respondus. Respondus Monitor is licensed to you, not sold or transferred to you. You agree that you
may not use Respondus Monitor in any way that conflicts with or violates these Terms or other agreements



RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 59 of 67 PageID #:106



between you and any third-party, including that of your Institution’s learning management system (“LMS”)
through which you are accessing the Respondus Monitor Services.

            b. FEES. The license grant to use Respondus Monitor is separate from the license grant to use
Respondus’ LockDown Browser solution. If you are initiating Respondus Monitor for demonstration
purposes only, you will not be charged. Also, Respondus may grant you a temporary license free-of-charge
to use Respondus Monitor, at its sole discretion (such as, for example, for beta testing or pilot program
purposes), but such free license grant may be terminated at any time by Respondus at its sole discretion.

            c. PRIVACY & SECURITY POLICY. Respondus cares about your privacy and the security
of your personal data. The Respondus Privacy Policy is available at www.respondus.com/privacy, and we
recommend that you review it carefully. The information below summarizes important aspects of the
security used with Respondus Monitor and how we process your personal data.

Respondus Monitor uses the following methods to limit access to personal information or data (e.g., student
recordings or other personal information):

       Respondus Monitor uses industry standard SSL (Secure Socket Lay) or TLS (Transport Layer
        Security) encryption to transfer information.
       Student identifiable information including name, grade, course name, and photos that show
        identification cards can only be accessed through the learning management system’s (LMS’s)
        extension architecture (e.g., LTI, Blackboard Building Block).
        Only users with instructor credentials for the LMS course (e.g., instructors, teaching assistants,
        LMS administrators) are able to view video sessions in conjunction with student identifiable
        information.


Video URLs are “one-time use” and will not function if copied. Respondus uses independent, third-party
security firms to perform penetration testing and other vulnerability scans of the Respondus Monitor
system. This includes a review of the Respondus Monitor architecture and the testing for vulnerabilities
and exploits. Unfortunately, no data transmission over the Internet is 100% secure, and Respondus does not
warrant nor guarantee the security of any information collected using its services. By agreeing to these
Terms, you agree to use Respondus Monitor at your own risk, and agree that Respondus shall not be liable
if a security breach occurs, if the site malfunctions, or if information is misused or mismanaged in any way
to your detriment or the detriment of a student or third party, whether by Respondus, your institution, or an
unauthorized third party.

The use of Respondus Monitor will require individual student activity to be recorded, both audibly and
visually, during certain assessment sessions. Other data related to individual student activity during
assessment sessions may also be recorded by Respondus Monitor, such as, for example, without limitation,
time taken by a student to answer specific inquiries on an assessment. The recordings are controlled by your
Institution and will be processed by an agent of your Institution, namely, Respondus, through its Respondus
Monitor Services. Respondus Monitor may analyze the recordings through automated processes to generate
additional data derived from the recordings, with the additional data being associated with individual
students for use by your Institution in evaluating the recordings. This additional information includes the
creation of a temporary template of facial identifiers during automated processing, and such template is
used in the temporary memory of the server executing the Respondus Monitor software to determine
whether the student who started the exam differs from the person currently in the video frame being
processed by the Respondus Monitor Service. The template is not saved to the cloud server’s database or
storage and is cleared from the server’s memory by Respondus Monitor after the processing is complete,
which occurs no later than two (2) days after the completion of the exam. The additional data, as well as


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 60 of 67 PageID #:107



the original recordings, may be evaluated by agents of your Institution, including your instructors, to review,
assess, and analyze student performance and conduct, and investigate alleged student conduct violations.
Your Institution works with Respondus to help ensure your privacy regarding the recordings and to comply
with applicable laws and regulations as to any information or data (including any of the video or audio
recordings). Respondus personnel do not review/analyze the recordings except as may be required to
resolve technical problems, improve system performance, modify Respondus Monitor, investigate
violations of these Terms, or as may be directed by your Institution or applicable law enforcement.

Each student that is recorded will have a unique username or identification code (“ID”) and password
through your Institution’s (or its learning institution’s) LMS or learning system. The ID and password will
be usable by students, at the discretion of your Institution, to allow students to transmit recordings and data
to the online component of Respondus Monitor if required by your Institution as part of an assessment
activity. Instructors, administrators and other agents of your Institution, may access those recordings and
data related to their students through Respondus Monitor. You must guard your password and not share it
with anyone to help ensure your security and privacy of your data.

Random samples of video and/or audio recordings may be collected via Respondus Monitor and used by
Respondus to improve the Respondus Monitor capabilities for institutions and students. The recordings
may be shared with researchers under contract with Respondus to assist in such research. The researchers
are consultants or contractors to Respondus and are under written obligation to maintain the video and/or
audio recordings in confidence and under terms at least as strict as these Terms. The written agreements
with the researchers also expressly limit their access and use of the data to work being done for Respondus
and the researchers do not have the right to use the data for any other purposes. No personally identifiable
information for students is provided with the video and/or audio recordings to researchers, such as the
student’s name, course name, institution, grades, or student identification photos submitted as part of the
Respondus Monitor exam session. Other than the purposes identified above, Respondus will not share
recordings or personally identifying information of any particular student (collectively, also referred to
herein as “personal information or data”) with third parties (third parties do not include the student who
provided the personal information, the parent/guardian of a student under the age of 18 who provided
personal information, or the institution who authorized access by the student to Respondus Monitor
Services) unless specifically required by Institution. For example, if Institution uses third parties to manage
student personal information (e.g., Institution agents), the Institution may direct Respondus to share the
personal information with that third party under the Institution’s direction and control.

If, in the future, Respondus, or substantially all of its assets are acquired, the maintenance of all collected
personal information or data (including any recordings) may be transferred to the acquiring party, provided
that the acquiring party implement a privacy and security policy at least as restrictive as this one, or
otherwise compliant with current legal standards, and provided that the collected personal information and
data remain under the control of your Institution.

Respondus reserves the right at all times to disclose any information or data (including recordings and any
content to the extent applicable) stored by you, your Institution, or any other user as necessary, to comply
with the law, a regulation or a governmental request, or to edit or delete any information or data, in whole
or in part, that in Respondus’ sole discretion, is in violation of these Terms.

If you have any questions regarding the above Terms, please contact Respondus by email at or by writing
to: Respondus, Inc., Attn: Legal – Privacy Team, 8201 164th Ave NE, Suite 200
Redmond, WA 98052 USA, Via email: privacy@Respondus.com.

            d. USER CONDUCT. You promise NOT to use Respondus Monitor for any of the following
purposes or activities:


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 61 of 67 PageID #:108




               i. conducting or supporting illegal activity of any type whatsoever;
              ii. transmitting or storing worms or viruses or any code of a destructive nature;
            iii. threatening, harassing, abusing, impersonating, injuring or intimidating others;
             iv. engaging in vulgar, invasive, or hateful conduct, or conduct that invades another’s privacy;
              v. interfering with others’ use of Respondus Monitor, unless such interference is for the
 purpose of complying with another section of these Terms;
             vi. delivering spam or collecting information to deliver spam, or sending unsolicited
 advertisements;
            vii. decompiling, disassembling, reverse engineering or otherwise attempting to discover any
 source code contained in Respondus Monitor;
           viii. disguising the origin of any content transmitted through Respondus Monitor or
 manipulating your presence on Respondus Monitor; and/or
             ix. causing the launch of any automated system(s) that access Respondus Monitor in a manner
 that sends more request messages to servers of Respondus in a given period of time than a human can
 reasonably produce in the same period by using a conventional on-line web browser.

             e. RESPONDUS USERNAME/ID AND PASSWORD POLICY. You must guard the access
credentials (e.g., user name and password) that you use to access your Institution’s learning system to help
ensure your own privacy and security with respect to recordings you initiate using Respondus Monitor, and
not share those credentials with others.

              f. ACTIVITY GENERAL. You are responsible for your conduct and activities arising during
use of Respondus Monitor and for any information or data you provide to or through Respondus Monitor.
You agree that Respondus is not responsible for, nor liable for, any mistakes, inaccuracies, lack of
usefulness, defamation, omissions, falsehood, obscenity or otherwise offensive material in any of the
information or data provided to Respondus by users. You also understand that Respondus does not, and has
no obligation to, monitor, pre-screen nor pre-approve information or data, but that Respondus shall
nonetheless have the right (but not the obligation) in its sole discretion, to refuse, delete or move any
information or data that is available via Respondus Monitor, for any reason, including a violation of any of
these Terms (however, if Respondus elects to, for any reason, refuse, delete or move any recording of
student activity for violation of these Terms, Respondus may save a copy of such recording for access by
the Institution).

             g. LICENSE PROVIDED TO RESPONDUS. Respondus Monitor will save all recordings of
students for the period of time designated by your Institution. Institutions have the ability to select a data
retention period between thirty (30) days and five (5) years. Notwithstanding the foregoing, as explained
above, the template of facial features is not saved to the cloud server’s database or storage and is cleared
from the server’s memory by Respondus Monitor after the processing is complete. Respondus does not
claim ownership in the information or data Institution or any students provide; however, by providing
information or data to Respondus, you grant Respondus, and its affiliates, a fully paid-up, perpetual license
to use, store, modify, copy, and transmit any such information or data for the purpose of carrying out the
Respondus Monitor Services in accordance with these Terms.

              h. CHANGES. Except as provided in the Arbitration Agreement below, Respondus reserves
the right to change these Terms at any time, at its discretion, without advance notice to you, but by posting
the new version of these Terms within the Respondus Monitor Software. Respondus also reserves the right
to terminate Respondus Monitor at any time after the end of your current license, without notice; however,
if your license is a free license, Respondus reserves the right to terminate your license at any time without
notice. If your Institution terminates use of Respondus Monitor during your current license, such that you
no longer require use of Respondus Monitor, no refunds will be due or available.


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 62 of 67 PageID #:109




            i. WARRANTIES YOU PROVIDE. You warrant and represent during the term of this
agreement to Respondus that you are not infringing the intellectual property rights of others whenever you
provide information or data on or through Respondus Monitor. You also agree that Respondus is not
responsible for protecting any intellectual property rights you, or another party, may assert in any
information or data you provide to Respondus Monitor.

            j. OPT-OUT. If you cease to agree with these Terms, or the privacy and security policy at
some point in the future, you may opt-out by contacting your Institution. However, opting-out may affect
how you will need to complete your course, and Respondus makes no representations regarding how it will
affect your relevant course or resulting grade. As such, we encourage you to speak with your instructor
before opting out. Additionally, you cannot opt-out of the Arbitration Agreement if you elect to use
Respondus Monitor. Respondus also cannot opt-out of the Arbitration Agreement.

            k. DISCLAIMERS. Respondus disclaims responsibility or liability for the accuracy, content,
completeness, legality, reliability, operability or availability of information or data in Respondus Monitor.
Respondus further disclaims any responsibility for the deletion, failure to store, mis-delivery, or untimely
delivery of any information or data. Respondus disclaims any responsibility for any harm resulting from
downloading or accessing any information or data through Respondus Monitor. You will bear all risk
associated with any information or data you access. Your access or use of any information or data provided
by Respondus Monitor or third parties in connection with Respondus Monitor is conditioned on your
agreement to these Terms including these disclaimer provisions.

RESPONDUS MONITOR IS PROVIDED TO YOU, “AS IS,” WITH NO WARRANTIES
WHATSOEVER. ALL EXPRESS, IMPLIED, AND STATUTORY WARRANTIES, INCLUDING,
WITHOUT LIMITATION, THE WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, AND NON-INFRINGEMENT, ARE EXPRESSLY DISCLAIMED. TO THE
FULLEST EXTENT PERMITTED BY LAW, RESPONDUS DISCLAIMS ANY WARRANTIES FOR
THE SECURITY, RELIABILITY, TIMELINESS, AND PERFORMANCE OF RESPONDUS
MONITOR. RESPONDUS SIMILARLY DISCLAIMS, TO THE FULLEST EXTENT PERMITTED BY
LAW, ANY WARRANTIES FOR ANY INFORMATION OR ADVICE OBTAINED THROUGH
RESPONDUS MONITOR.

YOU UNDERSTAND AND AGREE THAT ANY INFORMATION OR DATA DOWNLOADED OR
OTHERWISE OBTAINED THROUGH THE USE OF RESPONDUS MONITOR IS OBTAINED AT
YOUR OWN DISCRETION AND RISK AND THAT YOU WILL BE SOLELY RESPONSIBLE FOR
ANY DAMAGES TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT MAY RESULT IN
THE DOWNLOAD OF SUCH INFORMATION OR DATA. UNDER NO CIRCUMSTANCES SHALL
RESPONDUS BE LIABLE TO ANY USER ON ACCOUNT OF THAT USER’S USE OR MISUSE OF
AND RELIANCE ON RESPONDUS MONITOR. SUCH LIMITATION OF LIABILITY SHALL APPLY
TO PREVENT RECOVERY OF DIRECT, INDIRECT, INCIDENTAL, CONSEQUENTIAL, SPECIAL,
EXEMPLARY, AND PUNITIVE DAMAGES (EVEN IF RESPONDUS HAS BEEN ADVISED OF THE
POSSIBILITY OF SUCH DAMAGES). SUCH LIMITATION OF LIABILITY SHALL APPLY
WHETHER THE DAMAGES ARISE FROM USE OR MISUSE OF AND RELIANCE ON RESPONDUS
MONITOR, FROM INABILITY TO USE THE RESPONDUS MONITOR, OR FROM THE
INTERRUPTION, SUSPENSION, OR TERMINATION OF RESPONDUS MONITOR OR BY REASON
OF ANY INFORMATION OR ADVICE RECEIVED THROUGH RESPONDUS MONITOR. THE
FOREGOING    DISCLAIMERS,    WAIVERS   AND     LIMITATIONS   SHALL    APPLY
NOTWITHSTANDING ANY FAILURE OF ESSENTIAL PURPOSE OF ANY LIMITED REMEDY.




RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 63 of 67 PageID #:110



             l. INTELLECTUAL PROPERTY. All web design, text, graphics, the selection and
arrangement thereof, and all software compilations, underlying source code, software and all other material
on Respondus Monitor are either the copyright or trademark of Respondus, or covered by other intellectual
property rights of Respondus or a third party licensor of Respondus. Any use of Respondus Monitor beyond
the purpose indicated above is strictly prohibited. You shall not acquire any rights in Respondus’
intellectual property by using Respondus Monitor.

              m. MISCELLANEOUS. Except as otherwise specified in these Terms, all legal issues arising
from or related to the use of Respondus Monitor between you and Respondus shall be construed in
accordance with the laws of the State of Washington, without regard to conflicts of law principles.
Respondus may terminate your use of Respondus Monitor if you violate these Terms, and will terminate
your use if you use Respondus Monitor to repeatedly infringe on the intellectual property rights of others.
These Terms constitute the entire agreement between the parties with respect to the subject matter contained
herein and supersede any other agreements between Respondus and you regarding Respondus Monitor. If
Respondus should fail to enforce any right or provision in these Terms, this failure shall not constitute a
waiver of such right or provision or of any other rights or provisions in these Terms. If a court should find
that one or more rights or provisions set forth in these Terms are invalid, you agree that the remainder of
the right or provisions shall be enforceable and that, to the extent permitted by law, the court shall give
effect to the parties’ intentions, as reflected in any such right or provision that has been declared invalid or
unenforceable. If you do not agree to the Terms, you will not be permitted to use this Service. Any term
that would naturally survive termination of these Terms shall survive, such as, for example, the
DISCLAIMERS, WARRANTIES YOU PROVIDE, and this MISCELLANEOUS section.

    3. DISPUTES, GOVERNING LAW, VENUE and JURISDICTION

By using Respondus Monitor, you agree that these Terms shall be governed by the laws of the State of
Washington USA without regard to its conflict of law provisions.

For any cause of action initiated against Respondus relating to these Terms, you and Respondus agree to
submit to the exclusive and personal jurisdiction of the court system for Redmond, Washington USA.

    4. ARBITRATION

Respondus operates in interstate commerce and this Arbitration Agreement is a contract evidencing a
transaction involving commerce that is governed by the Federal Arbitration Act (“FAA”), 9 U.S.C. §§ 1 et
seq. This Agreement contains the rules and procedures that you must follow to resolve any disputes
between you and Respondus—please read it carefully. It contains procedures for MANDATORY
BINDING ARBITRATION AND A CLASS ACTION WAIVER. You agree that, by agreeing to these
Terms of Use, the U.S. Federal Arbitration Act governs the interpretation and enforcement of this provision,
and that you and Respondus are each waiving the right to a trial by jury or to participate in a class action.

Scope of Arbitration Agreement. You acknowledge and agree that any dispute or claim relating in any
way to your access or use of Respondus Monitor or to any other aspect of your relationship with Respondus
will be resolved by binding arbitration, rather than in court, except that (1) you may assert claims in small
claims court if your claims qualify, so long as the matter remains in such court and advances only on an
individual (non-class, non-representative) basis; and (2) you or Respondus may seek equitable relief in
court for infringement or other misuse of intellectual property rights (such as trademarks, trade dress,
domain names, trade secrets, copyrights, and patents). This Arbitration Agreement shall apply, without
limitation, to all claims that arose before this or any prior agreement. NOW OR IN THE FUTURE,
THERE MAY BE LAWSUITS AGAINST RESPONDUS ALLEGING CLASS, COLLECTIVE,
AND/OR REPRESENTATIVE CLAIMS. SUCH CLAIMS, IF SUCCESSFUL, COULD RESULT


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 64 of 67 PageID #:111



IN SOME MONETARY RECOVERY TO YOU. THE EXISTENCE OF SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS DOES NOT MEAN THAT SUCH
LAWSUITS WILL ULTIMATELY SUCCEED. BUT IF YOU AGREE TO ARBITRATION WITH
RESPONDUS, YOU ARE AGREEING IN ADVANCE THAT YOU WILL NOT PARTICIPATE IN
OR SEEK TO RECOVER MONETARY OR OTHER RELIEF UNDER SUCH CLASS,
COLLECTIVE, AND/OR REPRESENTATIVE LAWSUITS. INSTEAD, BY AGREEING TO
ARBITRATION, YOU MAY BRING YOUR CLAIMS AGAINST RESPONDUS IN AN
INDIVIDUAL ARBITRATION PROCEEDING. IF SUCCESSFUL ON SUCH CLAIMS, YOU
COULD BE AWARDED MONEY OR OTHER RELIEF BY AN ARBITRATOR.

Arbitration Rules and Forum. This Arbitration Agreement is governed by the Federal Arbitration Act in
all respects. To begin an arbitration proceeding, you must send a letter requesting arbitration and describing
your claim to our registered agent, C T Corporation System, 711 Capitol Way South, Suite 204, Olympia,
Washington 98501 . The arbitration will be conducted by the American Arbitration Association (“AAA”)
under its rules, including the AAA’s Supplementary Procedures for Consumer-Related Disputes. The
AAA’s rules are available at www.adr.org or by calling the AAA at 1-800-778-7879. Payment of all filing,
administration, and arbitration fees will be governed by the AAA’s rules. We will reimburse those fees for
claims totaling less than $10,000 unless the arbitrator determines the claims are frivolous. Likewise,
Respondus will not seek attorneys’ fees and costs in arbitration unless the arbitrator determines the claims
are frivolous. If the AAA is not available to arbitrate, the parties will select an alternative arbitral forum.

Arbitrator Powers. The arbitrator, and not any federal, state, or local court or agency, shall have exclusive
authority to resolve any dispute relating to the interpretation, applicability, enforceability or formation of
this Arbitration Agreement including, but not limited to any claim that all or any part of this Arbitration
Agreement is void or voidable. The arbitration will decide the rights and liabilities, if any, of you and
Respondus. The dispute will not be consolidated with any other matters or joined with any other cases or
parties. The arbitrator will have the authority to grant motions dispositive of all or part of any claim or
dispute. The arbitrator will have the authority to award monetary damages and to grant any non-monetary
remedy or relief available to an individual under applicable law, the arbitral forum’s rules, and these Terms.
The arbitrator will issue a written award and statement of decision describing the essential findings and
conclusions on which the award is based, including the calculation of any damages awarded. The arbitrator
has the same authority to award relief on an individual basis that a judge in a court of law would have. The
award of the arbitrator is final and binding on you and Respondus.

Waiver of Jury Trial. YOU AND RESPONDUS EACH KNOWINGLY AND VOLUNTARILY WAIVE
ANY CONSTITUTIONAL AND STATUTORY RIGHTS TO SUE IN COURT AND RECEIVE A
JUDGE OR JURY TRIAL. You and Respondus are instead electing to have claims and disputes resolved
by arbitration. An arbitrator can award on an individual basis the same damages and relief as a court and
must follow these Terms as a court would. However, there is no judge or jury in arbitration, and court
review of an arbitration award is limited. In any litigation between you and Respondus over whether to
vacate or enforce an arbitration award, you and Respondus waive all rights to a jury trial, and elect instead
to have a judge resolve the dispute.

Waiver of Class or Consolidated Actions. ALL CLAIMS AND DISPUTES WITHIN THE SCOPE OF
THIS ARBITRATION AGREEMENT MUST BE ARBITRATED ON AN INDIVIDUAL BASIS AND
NOT ON A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE BASIS. CLAIMS OF
MORE THAN ONE CUSTOMER OR USER CANNOT BE ARBITRATED OR LITIGATED JOINTLY
OR CONSOLIDATED WITH THOSE OF ANY OTHER CUSTOMER OR USER. THE ARBITRATOR
MAY NOT CONSOLIDATE PROCEEDINGS ON MORE THAN ONE PERSON’S OR ENTITY’S
CLAIMS, AND MAY NOT OTHERWISE AUTHORIZE OR PRESIDE OVER ANY FORM OF A
CLASS, COLLECTIVE, REPRESENTATIVE OR AGGREGATE PROCEEDING. Claims of two or


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 65 of 67 PageID #:112



more persons or entities may not be joined or consolidated in the same arbitration because the arbitrator
may only hear your individual claims and does not have the authority to hear claims on a class, collective,
representative, or aggregate basis, or to award relief to anyone other than you and/or Respondus in a single
arbitration. If any provision of this paragraph is determined to be unenforceable with respect to any claim
or any particular remedy for a claim, then that claim or particular remedy (and only that claim or remedy)
must remain in court and be severed from any arbitration.

Exclusive Venue. To the extent the parties are permitted under these Terms to initiate litigation in a court,
both you and Respondus agree that all claims and disputes arising out of or relating to the Agreement will
be litigated exclusively in the state or federal court system for Redmond, Washington USA.

YOU SHOULD READ THE PROVISIONS OF THIS AGREEMENT CAREFULLY, AS IT
PROVIDES THAT VIRTUALLY ANY DISPUTE RELATED TO RESPONDUS MAY BE
RESOLVED ONLY THROUGH BINDING ARBITRATION. ARBITRATION REPLACES THE
RIGHT TO GO TO COURT, INCLUDING THE RIGHT TO A JURY TRIAL AND THE RIGHT
TO PARTICIPATE IN A CLASS, COLLECTIVE, REPRESENTATIVE, OR AGGREGATE
ACTION OR SIMILAR PROCEEDING.

YOU ACKNOWLEDGE THAT YOU HAVE RECEIVED AND READ OR HAVE HAD THE
OPPORTUNITY TO READ THIS ARBITRATION AGREEMENT. YOU UNDERSTAND THAT
THIS ARBITRATION AGREEMENT REQUIRES THAT DISPUTES THAT INVOLVE THE
MATTERS SUBJECT TO THE AGREEMENT BE SUBMITTED TO ARBITRATION
PURSUANT TO THE ARBITRATION AGREEMENT RATHER THAN TO A JUDGE AND JURY
IN COURT.

YOU AGREE THAT YOU INTEND TO BE BOUND BY THE AGREEMENT AND
SPECIFICALLY THE ARBITRATION PROVISIONS SET FORTH ABOVE.

    5. RESPONDUS HELP CENTER TERMS OF USE (“HELP CENTER TERMS”)

Accepting the Terms

In order to use the Help Services, you must first agree to the terms (“Help Center Terms”) as outlined
herein. You may not use the Help Services if you do not accept the Help Center Terms. You can accept the
Help Center Terms by: (A) clicking to accept or agree to the Help Center Terms, where this option is made
available to you by Respondus in the user interface of the Help Services or other Respondus services; or
(B) by otherwise using the Help Services. In any case, you understand and agree that Respondus will treat
your use of the Help Services as acceptance of the Help Center Terms.

Data Collection

Respondus collects data to operate effectively and to strive to provide you with the best experience with
LockDown Browser and Respondus Monitor. You provide some of this data directly, such as when you
contact us for support. Some data is obtained by recording how you interact with LockDown Browser and
Respondus Monitor by, for example, receiving error reports or usage data from software running on your
device. The data we collect depends on the features you use within the Help Services, and includes the
following:

Webcam & Microphone Check. The webcam and microphone check streams video and audio from your
webcam to the Respondus servers. The video and audio can then be played back by you to ensure the
webcam and microphone are working properly. The video and audio recorded during the webcam and



RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 66 of 67 PageID #:113



microphone check is stored in temporary cache on the Respondus server and is automatically deleted in
about an hour. Persistent storage is not used for these recordings, and Respondus does not provide a way to
electronically identify the recordings as being transmitted from a specific user.

System Check. The System Check gathers certain information from your computing device, the
networking environment, the institution’s Learning Management System, and the Respondus Monitor
server itself.

All data gathered during the System Check is presented to you on your screen, including a unique System
Check ID. The System Check does NOT contain username, user ID, or the password used to access the
institution’s Learning Management System.

You have the option to send System Check results by email, and if so, you must enter an email address for
the recipient of the email message. If the System Check results are sent by email, log files from software of
LockDown Browser are additionally transmitted to a Respondus server. Log files contain details of the
interaction between the LockDown Browser and/or Respondus Monitor and your institution’s Learning
Management System, from the time you log into the Learning Management System using LockDown
Browser and Respondus Monitor until the session is exited or terminated. Log files are stored locally on
your computer in an encrypted format and, if transmitted to Respondus, are sent in encrypted format over
HTTPS. Log files do NOT contain user name, user ID, or the password used to access the institution’s
Learning Management System.

System Check data and log files may be sent to a Respondus web server or a third party cloud server for
storage and further processing by Respondus. Respondus may use System Check data and log files to assist
you with a technical issue. Respondus may also aggregate and analyze the System Check data to, for
example, improve the Software or its technical support services. System Check data and log files aren’t
sold, distributed, or made available to affiliate or third party businesses. Report An Issue. The Report An
Issue feature enables you to provide feedback to Respondus about LockDown Browser and Respondus
Monitor. System Check data and log files, as described above, are collected by Respondus during this
process. You are informed of this transfer of data each time the Report An Issue feature is used. You may
choose, but you are not required, to provide an email address and contact information when using this
feature. System Check data, log files, contact information, and feedback you provide may be sent to a
Respondus web server or third party cloud server for storage and further processing by Respondus. No data
transmitted to Respondus from the Report An Issue feature will be sold, distributed, or made available to
affiliate or third party businesses.

Knowledge Base. A link to a knowledge base is included with the Help Services. No individual data is
collected by Respondus during the use of the knowledge base, although Respondus may analyze aggregated
usage data of the knowledge base to improve the service.

Technical Support. The Help Services contains a link that enables users to open a support ticket with
Respondus. The System Check ID for the most recent System Check is automatically populated in the form
used to create a support ticket. You must additionally enter your name and a valid email address through
which communication with the Respondus support team will occur. Throughout the support process, you
may, at your own discretion, provide personally identifiable information that will be used by the Respondus
support team to analyze the issue and communicate with you. All communication between you and the
Respondus team is stored on a Respondus web server, and may be used by Respondus to improve
LockDown Browser and/or Respondus Monitor.

Express Incorporation. All conditions set forth in these Respondus Monitor Terms, including the
RESPONDUS PRIVACY POLICY at www.respondus.com/privacy, and the sections PRIVACY &


RMS 052521
   Case: 1:21-cv-02620 Document #: 13 Filed: 06/04/21 Page 67 of 67 PageID #:114



SECURITY POLICY, USER CONDUCT, RESPONDUS USERNAME/ID AND PASSWORD POLICY,
ACTIVITY GENERAL, CHANGES, WARRANTIES YOU PROVIDE, OPT-OUT, DISCLAIMERS,
INTELLECTUAL PROPERTY, and MISCELLANEOUS are expressly included in these Help Center
Terms to the extent applicable. Respondus will not use data collected via the Help Services in any way that
conflicts with the Respondus Monitor Terms of Use. You also expressly agree not to use the Help Services
in any way that conflicts with any of the Respondus Monitor Terms of Use, including, for example, the
prohibitions set forth in the USER CONDUCT section. Respondus cannot make representations regarding
the security of information you transmit through a third party email service provider while using the Help
Services; however, to the extent Respondus stores any such information, the storage of such information
by Respondus will be compliant with the PRIVACY & SECURITY POLICY and the RESPONDUS
PRIVACY POLICY at www.respondus.com/privacy.




RMS 052521
